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                                       1
                                            TO THE HONORABLE VINCENT P. ZURZOLO, UNITED STATES BANKRUPTCY JUDGE,
                                       2
                                            THE OFFICE OF THE UNITED STATES TRUSTEE, THE DEBTOR AND DEBTOR IN
                                       3
                                            POSSESSION, AND PARTIES IN INTEREST:
                                       4
                                                   PLEASE TAKE NOTICE THAT secured creditors Packo Investments, Inc., Allen Park, M&A
                                       5
                                            Equities, LLC, The BAE Family Trust, Mohamed Sanfaz, and Kap Chan Chong (collectively
                                       6
                                            “Movants”) submit the following Motion for Order Appointing a Chapter 11 Trustee (the “Motion”)
                                       7
                                            with respect to the chapter 11 case of Jong Uk Byun, debtor and debtor in possession (the “Debtor”).
                                       8
                                            The Motion requests entry of an order appointing a chapter 11 trustee. In the alternative, the Motion
                                       9
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                                            requests conversion of the case to a case under Chapter 7 of the Bankruptcy Code.
                                       10
                                                   The Motion is brought on the grounds that the Debtor has failed to move forward with the
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                                       11
                                            administration of the Debtor’s estate. A Chapter 11 Trustee is in the best interest of creditors. Unlike
                                       12
                                            the Debtor, who appears to have personal reasons for not wanting to sell properties to satisfy creditor
                                       13
                                            claims, a chapter 11 trustee will have no such conflict. The Debtor’s delay in administering the case is
                                       14
                                            harming all creditors by the accrual of interest on senior secured creditor claims and secured tax claims,
                                       15
                                            thereby also harming all other creditors of the estate.
                                       16
                                                   PLEASE TAKE FURTHER NOTICE that the Motion is based on the accompanying
                                       17
                                            Memorandum of Points and Authorities, the Declaration of Allen Park, the Declaration of David W.
                                       18
                                            Meadows, and any other admissible evidence properly brought before the Court.
                                       19
                                                   PLEASE TAKE FURTHER NOTICE that any response to the Motion must conform with
                                       20
                                            Local Bankruptcy Rule 9013-1(f)(1), must be filed with the Bankruptcy Court no less than 14 days prior
                                       21
                                            to the above hearing date, and must be served no less than 14 days prior to the above hearing date on (i)
                                       22

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                                       1    Movants’ counsel as identified at the address noted in the top left corner of the first page of this Notice

                                       2    and (ii) the Office of the United States Trustee.

                                       3           PLEASE TAKE FURTHER NOTICE that, pursuant to Local Bankruptcy Rule 9013-1(h), the

                                       4    failure to timely file and serve an opposition to the Motion in accordance herewith may be deemed by

                                       5    the Court to be consent to the relief requested in the Motion.

                                       6    DATED: February 4, 2019                               THE LAW OFFICES OF DAVID W. MEADOWS

                                       7

                                       8                                                                  /s/ David W. Meadows
                                                                                                          David W. Meadows
                                       9
L AW O FFICES OF D AVID W. M EADOW S




                                                                                                  Counsel for Movants, Packo Investments, Inc.,
                                       10                                                         Allen Park, M&A Equities, LLC, The BAE Family
                                                                                                  Trust, Mohamed Sanfaz, and Kap Chan Chong
L OS A N GELES , C ALIFOR NIA




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                                       1                             MEMORANDUM OF POINTS AND AUTHORITIES

                                       2              INTRODUCTION AND FACTUAL BACKGROUND

                                       3              The case background was previously set forth by Movants in their Motion for Order Authorizing

                                       4    the Examination of the Debtor and the examination of the Debtor’s real estate broker, Mr. Kirk

                                       5    Garabedian. 1 The examination motion and the order granting it, appeared to have the desired effect of

                                       6    causing the Debtor to move forward and start selling properties.     Because it appeared to be the case that

                                       7    the Debtor was finally moving forward with the sale of at least two of his properties, the parties

                                       8    consented to continue both the production of documents and the 2004 examinations. Now, appearance

                                       9    and evidence is the same. The Debtor no longer appears to be moving forward with the sale of
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                                       10   properties and that appearance coincides with the evidence in the record.
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                                       11             The fee application filed by Debtor’s counsel on February 1, 2019 2 proves that the problem is

                                       12   not with Debtor’s counsel but with the Debtor. Mr. Hays, counsel to the Debtor, incurred $40,770.00

                                       13   in fees in connection with the “Asset category” of the case. 3 The last entry addressing the sale of assets

                                       14   was on January 18, 2019. 4 Debtor’s counsel, in his communications with the undersigned and with

                                       15   counsel to Hyundai Steel Corporation (“Hyundai”) has disclosed that the Debtor has sufficiently

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                                                      Doc. No. 51. The Order granting the 2004 Motion was entered on December 4, 2018. Doc.
                                       19   No. 56.

                                       20   2
                                                      Doc. No. 76

                                       21   3
                                                      Doc. No. 76, page 22 of 61

                                       22   4
                                                   True and correct copies of selected and highlighted pages from the Hays fee application are
                                            attached as Exhibit 1 to the Declaration of David W. Meadows (hereinafter, the “Meadows Decl.”)
                                       23                                                      3
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                                       1    executed asset purchase agreements with respect to the “Santa Fe” property and the “24th

                                       2    Street/Alameda” property to file bid procedure motions with respect to each of these properties, as well

                                       3    as sale motions. The two sales will in the absence of overbidding result in a sale of the Santa Fe

                                       4    property in the amount of $18,880,000 and the 24th Street Alameda property in the amount of

                                       5    $5,500,000. But where are these motions? Apparently, the Debtor will not authorize Mr. Hays to

                                       6    proceed with them. While Movants have no evidence per se that the Debtor will not authorize the,

                                       7    there is no evidence to the contrary, that they are authorized. If the sales were authorized, Mr. Hays

                                       8    would have filed the required motions to begin the process of obtaining Bankruptcy Court approval of

                                       9    bidding procedures and the sales themselves. It is evident that Debtor’s counsel is able to meet with
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                                       10   and communicate with his client as Mr. Byun signed the Declaration in support of Mr. Hays’ fee
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                                       11   application on January 31, 2019. 5

                                       12          It is understandable that Mr. Byun is reluctant to sell some or at worst all of his portfolio. Mr.

                                       13   Byun has been affected, to use a new term, by a lot of “false news.” First, pre-petition, he was led to

                                       14   believe that he had a basis to reduce the Hyundai claim nearly in half, to an amount of $10 million or

                                       15   even millions less than that.   Second, the initial sale offer on the Santa Fe property in the amount of

                                       16   $28 million turned out to not be a real offer at all. The underestimation of the Hyundai claim and the

                                       17   overestimation of the Santa Fe value grossly inflated Mr. Byun’s expectations. The reality, the non-fake

                                       18   news is that Hyundai has a claim with interest probably near $23 million now. The Santa Fe property

                                       19   has a market value of approximately $19 million, not $28 million. In order to satisfy his debt to

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                                                   Doc. No. 76, page 16 of 61.
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                                       1    Hyundai, and the approximately $5 million in principal alone owed to the Movants, plus substantial tax

                                       2    debt and his obligations to unsecured creditors, the Debtor is likely going to have to liquidate his entire

                                       3    portfolio. It is not all bad news however and appointment of a trustee for the estate would be best not

                                       4    only for creditors but it would be best for Mr. Byun himself. By the estimates of Movants (as set forth

                                       5    below), the sale of all the properties of the Debtor should still leave a balance of approximately $3

                                       6    million for the Debtor. A three million endgame after repayment of debt that has been accruing for

                                       7    years and years is not a bad outcome.    It certainly is better than having all of that equity lost by mere

                                       8    accrual of interest to Hyundai. In these case, appointment of a trustee will not only save creditors from

                                       9    the Debtor, it will save the Debtor from himself.
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                                       10          STATEMENT OF FACTS:
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                                       11          The Debtor’s Properties and Their Values: The properties owned by the Debtor and their values

                                       12   according to the Debtor are set forth both in the Debtor’s Schedules of Assets and Liabilities 6 and in

                                       13   numerous filings by the Debtor. The same list of properties and lienholders is included most recently in

                                       14   the Hays fee application. 7   The properties include with the Debtor’s approximation of values:

                                       15          a.      Santa Fe parcels:                 $18,880,000 (per current APA)

                                       16          b.      2203 S. Alameda:                     $4,800,000

                                       17          c.      1736 E 24th Street (Alameda)         $5,500,000 (per current APA)

                                       18          d.      2445 S. Alameda:                     $1,400,000

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                                                   Doc. No. 26

                                       22   7
                                                   Doc. No. 76 at 6 of 61

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                                       1           e.      1770 E. 22nd’ St.
                                                           (residential property)              $150,000
                                       2
                                                   f.      144 & 146G St,
                                       3                   San Bernardino                     $1,000,000

                                       4           g.      24399 Old Hwy 58,
                                                           Hinkley, CA                         $400,000
                                       5
                                                   The Debtor’s estimated value of its properties, based either on the schedules or the current asset
                                       6
                                            purchase agreements, totals approximately $32,050,000. That would amount to a fair amount of
                                       7
                                            cushion . . . if the Debtor was actively getting the two offers on the table before the court. However,
                                       8
                                            even assuming those two sales close, those two sales will generate roughly $24 million. From that, real
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                                            estate commissions are to be paid and secured tax must be paid. A fair “placeholder” number for
                                       10
                                            Hyundai is likely to be at least $23 million These two property sales alone, even if the Debtor were
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                                       11
                                            proceeding with them, will provide nothing for movants or for any other creditors in the case.
                                       12
                                            However, the remaining properties still have substantial value. Movants believe the Debtor should have
                                       13
                                            approximately $3 million in equity in the remaining properties after satisfaction of the Hyundai debt,
                                       14
                                            secured tax debt, and the debt owed to Movants.     The Debtor has not even authorized retention of a
                                       15
                                            broker to list the remaining properties. A trustee will and would have by now.
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                                       1            APPOINTMENT OF A CHAPTER 11 TRUSTEE IS WARRANTED AS

                                       2            DEMONSTRATED BY THE EVIDENCE

                                       3                     A Chapter 11 Trustee Shall Be Appointed Pursuant to Section 1104(a)(1) or

                                       4                     1104(a)(2) of the Bankruptcy Code if Such Appointment is in the Best Interest of

                                       5                     Creditors.

                                       6            Section 1104(a) of the Bankruptcy Code provides:

                                       7            (a)      At any time after the commencement of the case but before confirmation of a plan, on

                                       8    request of a party in interest or the United States trustee, and after notice and a hearing, the court shall

                                       9    order the appointment of a trustee –
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                                       10                    (1)    for cause, including fraud, dishonesty, incompetence, or gross mismanagement of
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                                       11   the affairs of the debtor by current management, either before or after the commencement of the case, or

                                       12   similar cause . . . .

                                       13                    (2)    if such appointment is in the interests of creditors[.]

                                       14   Id. (emphasis added).

                                       15           A party seeking appointment of a Chapter 11 trustee under 11 U.S.C. § 1104(a) has the burden of

                                       16   proving appropriate grounds exist for such appointment by a preponderance of the evidence. In re

                                       17   Pasadena Adult Residential Care, 2015 Bankr. 3601, *44 (Bankr. C.D. Cal. 2015) (citing In re William

                                       18   A. Smith Const. Co., Inc., 77 B.R. 124, 126 (Bankr. N.D. Ohio 1987); see also Grogan v. Garner, 498

                                       19   U.S. 279, 286-291, 111 S. Ct. 654, 112 L. Ed. 2d 755 (1991); accord, In re Corona Care Convalescent

                                       20   Corp., 527 B.R. 379, 384 (Bankr. C.D. Cal. 2015); contra, In re Bellevue Place Assocs., 171 B.R. 615,

                                       21   623 (Bankr. N.D. Ill. 1994) (concluding that appointment of trustee requires clear and convincing

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                                       1    evidence, but decided before Grogan v. Garner, stating that preponderance of the evidence standard

                                       2    applies unless express congressional direction to apply higher standard).

                                       3           Cause and the best interest of creditors and other parties are separate and independent bases for

                                       4    granting a motion to appoint a trustee under 11 U.S.C. § 1104(a).

                                       5                   The Preponderance of the Evidence Standard.

                                       6           Since the burden of proof is the “preponderance of the evidence,” it is worth stating what that

                                       7    standard means.

                                       8           “Preponderance of the evidence" means that the trier of fact is only required to believe

                                       9            that the existence of a fact is more probable or reasonable than its nonexistence,
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                                       10           Kennedy v. Southern California Edison Co., 268 F.3d 763, 770 (9th Cir. 2001) (applying
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                                       11           California law), and that in terms of the probability of truth of evidence, when weighed

                                       12           with that opposed to it, the evidence has more convincing force and greater probability

                                       13           of truth, Leslie G. v. Perry & Associates, 43 Cal.App.4th 472, 482-83, 50 Cal. Rptr. 2d

                                       14           785 (1996)”

                                       15   Clarendon Nat’l Ins. Co. v. Ins. Co. of the West, 442 F. Supp. 2d 914, 2006 U.S. Dist. LEXIS 76845

                                       16   [**6] (E.D. Cal. 2006).

                                       17          Starting with subpart (2) of Section 1104(a), appointment of a trustee when it is in the “interests

                                       18   of creditors,” courts look to the totality of the circumstances. In re Pasadena Adult Residential Care,

                                       19   2015 Bankr. LEXIS 3601, *46. This includes looking at the “practical realities” and necessities

                                       20   inescapably involved in reconciling competing interest [sic]” Id., citing In re Hotel Associates, Inc., 3

                                       21   B.R. 343, 345 (Bankr. E.D. Pa. 1980).

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                                       1           In the Debtor’s case, the problem is the conflict between the Debtor’s strong personal desire to

                                       2    retain his real estate portfolio combined with his facing the reality that he will end up with only several

                                       3    million compared to his weak desire to pay creditors by liquidating his portfolio. 8 Having chosen to file

                                       4    a bankruptcy petition, the Debtor has a fiduciary duty to his estate creditors. The fiduciary duty

                                       5    requires taking reasonable steps to sell, at reasonable market prices, sufficient properties to satisfy his

                                       6    creditor claims. The Debtor is not satisfying that fiduciary duty. The Debtor has no other prospect for

                                       7    satisfying creditor claims other than through the sale of properties.   In essence, the Debtor is in a

                                       8    conflict position between his desire to retain his real property assets and the obligation to satisfy creditor

                                       9    claims by taking action.
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                                       10          The evidence based on the time records of Mr. Hays demonstrates that Debtor’s counsel has been
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                                       11   lining up sales of the Santa Fe and 24th Street/Alameda properties:

                                       12               x 10/30/18 entry by Hays relating to the $18.8 million offer on Santa Fe.

                                       13               x 11/07/18 entry by Hays relating to same

                                       14               x 11/20/18 entry by Hays relating to same

                                       15               x 11/29/18 entry by Hays regarding the offer and meeting with the Debtor

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                                                    The Debtor has a problem in selling the 2203 S. Alameda properties. The problem is, Mr. Byun
                                       19   operates his scrap metals business on that property. One solution is to find a buyer who will lease the
                                            property back to Mr. Byun, if even for a few years. That is a possible scenario, as a development of the
                                       20   property would take some time. A buyer might like the income from Mr. Byun’s rental. The buyer
                                            might even offer a purchase option. As long as the sale price is enough to pay creditors, that could be a
                                       21   fine result, meaning, it could be a sale for an amount less that would be obtained without a lease back or
                                            purchase option provision. However, this is Mr. Byun’s problem, not the problem of his creditors. The
                                       22   evidence in the record shows zero effort by the Debtor to even address the need to sell his remaining
                                            properties.
                                       23                                                        9
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                                       1                x 12/11/18 entry by Hays relating to the 24th Street property sale

                                       2                x 12/19/18 entry by Hays re same.

                                       3                x 12/21/18 entry by Hays re circulation of Santa Fe APA to counsel to Hyundai and

                                       4                    Movants.

                                       5                x 12/24/18 entry by Hays relating to a motion to approve bidding procedures

                                       6                x 12/24/18 entry by Hays relating to the sale motion for Santa Fe.

                                       7                x 1/8/19 entry by Hays relating to a conversation with counsel to Movants regarding need
                                       8                    to move forward with sales of Santa Fe and 24th Street.
                                       9                x 1/18/19 – the last entry for January with respect to asset sales.
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                                       10   See Hays Fee Application, Doc. 75, Exhibit A, pages 18 through 22 (highlighted copies of which are
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                                       11   attached hereto and incorporated herein as Exhibit 1 to the Declaration of David W. Meadows
                                       12   (hereinafter, the “Meadows Declaration”).
                                       13          In an effort of collaboration by Debtor’s counsel with counsel to Hyundai and Movants, Debtor’s
                                       14   counsel has circulated draft sale motions, bid procedure motions, and asset purchase agreements
                                       15   regarding both the Santa Fe and the 24th Street properties. Yet there are no filings to date with respect to
                                       16   either of these sales. Once the Alere $28 million offer was withdrawn, and the new offer of
                                       17   $18,880,000 came to replace it, it became apparent that the Debtor will have to sell more than only the
                                       18   Santa Fe and the 24th Street/Alameda properties.    The Debtor has taken no steps to retain a real estate
                                       19   broker to even begin to market the remaining properties. There is no sign that the Debtor intends to do
                                       20   so.
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                                       1           CAUSE LIKEWISE IS SHOWN FOR CONVERSION OF THE CASE TO ONE UNDER

                                       2           CHAPTER 7 OF THE BANKRUTPCY CODE

                                       3           Section 1112 of the Bankruptcy Code provides for conversion of a case to chapter 7. Pursuant

                                       4    to Section 1112(b)(1), the Court shall convert a case to one under chapter 7 “for cause,” which includes

                                       5    under Section 1112(b)(4)(A), “substantial or continuing loss to or diminution of the estate and the

                                       6    absence of a reasonable likelihood of rehabilitation.” Starting with “rehabilitation,” “Courts have held

                                       7    that rehabilitation is not synonymous with reorganization and the determination is not whether a debtor

                                       8    can confirm a plan but whether the debtor has sufficient business prospects.” In re Landmart Atl. Hess

                                       9    Farm LLC, 448 B.R. 707, 714 (Bankr. MD 2011). “Rehabilitation means to reestablish a business and
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                                       10   Landmark [the debtor] has no business.” Id. “The issue of rehabilitation for purposes
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                                       11   of § 1112(b)(4)(A) is not the technical one of whether the debtor can confirm a plan, but, rather, whether

                                       12   the debtor's business prospects justify continuance of the reorganization effort." In re Wallace, 2010

                                       13   Bankr. LEXIS 261, 2010 WL 378351 at *4 (Bankr. D. Idaho Jan. 26, 2010) (quotations and citations

                                       14   omitted). "Rehabilitation is a different and much more demanding standard than reorganization." In re

                                       15   Creekside Senior Apartments, L.P., 489 B.R. at 61 (citing In re Brutsche, 476 B.R. 298, 301 (Bankr.

                                       16   D.N.M. 2012) (citing 7 Collier on Bankruptcy at ¶ 1112.04[6][a][ii])).” In re Hassen Imps. P’Ship v. W.

                                       17   Covina (In re Hassen Impts. P’ship), 2013 Bankr. LEXIS 3870, *44 (Bankr. 9th Cir. 2013) (emphasis

                                       18   added). Here, with no business to rehabilitate, the term could best be applied in an individual chapter

                                       19   11 to what is in the best rehabilitative interest of Mr. Byun. The status quo does not evidence a

                                       20   reasonable likelihood of rehabilitation by Mr. Byun for his own benefit of that of his creditors.

                                       21   Movants believe the best avenue for the rehabilitation of the Debtor is a reality based approach to his

                                       22   problems. The solution to the Debtor’s financial problems is clear. Not only creditors but even the

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                                       1    Debtor would be best served by a trustee to take steps to liquidate the Debtor’s assets in a prompt and

                                       2    commercially reasonable manner. Rehabilitation is not going to occur for the Debtor under any

                                       3    understanding of the terms so long as he remains the debtor in possession.

                                       4           The Debtor owns a business, but that business is not the Debtor. Further, the Debtor has never

                                       5    stated an intention to “reorganize” or “rehabilitate” anything. The Debtor’s only stated intent is to

                                       6    liquidate properties. However, when the illusion of a vast reduction of the Hyundai claim dissipated and

                                       7    the reality set in that the Alere offer was never a realistic offer, the Debtor evidently is unable to commit

                                       8    to administer the estate assets for the benefit of creditors or even for himself.

                                       9           The “continuing diminution” of the Debtor’s estate is self-evident by the accrual of post-petition
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                                       10   interest on secured debt. Accrual of interest alone is an indicia of continuous diminishment of an estate.
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                                       11   See, e.g., In re Mouldi Sayeh, 2009 Bankr LEXIS 2366, *3 (Bankr. D. Mass. 2009); In re Franco, 2012

                                       12   Bankr. LEXIS 3524, *2 (Bankr. D.P.R. 2012). Hyundai accrues interest at the rate $125,000 per

                                       13   month. 9   The Los Angeles County Tax Assessor filed a secured claim in the amount of $884,767.62,

                                       14   with interest accruing at 18.00% 10, or approximately $13,000 per month. Movants’ claims likewise

                                       15   accrue post-petition interest and total over $4,500,000 in principal alone. In the Debtor’s case, there is

                                       16   no business that can be showing continued heath and improvement. There is no basis to believe that the

                                       17   Debtor’s real estate portfolio will increase in value. By its very nature and unavoidably, the Debtor’s

                                       18   estate is diminishing in value every month by approximately $150,000.          Since the August, 2018

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                                                   See Hyundai Unilateral Status Report, Doc. No. 34, page 6 of 15, line 12.
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                                                   Proof of Claim 3, page 2 of 16.
                                       23                                                         12
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                                       1    petition date, the estate has reduced in value to creditors junior to Hyundai by approximately

                                       2    $1,000,000. All indications are that it will continue to diminish in value due to the Debtor’s

                                       3    unwillingness to move reasonably, in the best interest of the estate and its creditors, to get the Santa Fe

                                       4    and the 24th Street property sales approved by the Court and to list the remaining properties.

                                       5            CONCLUSION

                                       6            In the six months that the Debtor has been debtor in possession, not a single filing has been made

                                       7    with respect to asset purchase agreements that would bring nearly $25 million into the estate. It being

                                       8    evident since no later than the beginning of November, 2018 that the two sales available to the Debtor

                                       9    will not be sufficient to satisfy creditor claims, the Debtor has not even employed a broker to even begin
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                                       10   to list the remaining properties. Having been given more than an ample opportunity to satisfy his
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                                       11   fiduciary duty to creditors, Movants believe that it is in their best interest and in the best interest of all

                                       12   creditors that a chapter 11 trustee be appointed or in the alternative, the case be converted to one under

                                       13   chapter 7 of the Bankruptcy Code. Movants believe it is even in the best interests of the Debtor.

                                       14

                                       15   DATED: February 4, 2019                         THE LAW OFFICES OF DAVID W. MEADOWS

                                       16

                                       17                                                   By:           /s/ David W. Meadows
                                                                                                          David W. Meadows
                                       18                                                   Counsel for Movants, Packo Investments, Inc., Allen Park,
                                                                                            M&A Equities, LLC, The BAE Family Trust, Mohamed
                                       19                                                   Sanfaz, and Kap Chan Chong

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                                       1                                      DECLARATION OF ALLEN PARK

                                       2           I, Allen Park, declare as follows:

                                       3           1.      I have personal knowledge of the facts set forth herein, except as to those stated on

                                       4    information and belief and, as to those, I am informed and believe them to be true. If called as a

                                       5    witness, I could and would competently testify to the matters stated herein.

                                       6           2.      I am the sole shareholder of Packo Investments, Inc. (“Packo”). I am the authorizaed

                                       7    representative in this case on behalf of the following secured creditors: M&A Equities, LLC, The BAE

                                       8    Family Trust, Mohamed Sanfaz, and Kap Chan Chong (collectively, along with Packo and myself

                                       9    individually, “Movants”).
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                                       10          3.       I am a licensed real estate broker. In fact, I was the co-listing broker with Mr. Kirk
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                                       11   Garabedian on the Debtor’s Santa Fe and 24th Street properties. Given that the Debtor retained me to be

                                       12   co-listing broker, I am confident the Debtor has no doubt as to my qualifications to have an informed

                                       13   basis for my opinion of values with respect to his real estate portfolio.

                                       14          4.        I have reviewed the values scheduled for the Debtor with respect to his real estate

                                       15   portfolio. Generally, I am in agreement with the scheduled amounts, with these modifications. First, I

                                       16   believe the property in Hinkley, California has no realizable value due to environmental issues affecting

                                       17   the property. However, I believe the property at 2445 S. Alameda should have a value of

                                       18   approximately $1,800,000 rather than the lower value of $1,400,000 as listed by the Debtor.

                                       19          5.      Overall, I believe that after the sale of Santa Fe and 24th Street, presuming the debt to

                                       20   Hyundai is fully satisfied by those sales, the Debtor should have remaining equity of approximately $3

                                       21   million. That cushion is very small relative to the debts. It is particularly small if in fact Hyundai still

                                       22   has unsatisfied debt after the closing of the Santa Fe and the 24th Street/Alameda sales. The actual

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                                       1    values of the Debtor’s remaining portfolio can only be known when all the properties are listed and

                                       2    offers are obtained.

                                       3

                                       4           I declare under penalty of perjury under the laws of the United States of America that the

                                       5    foregoing is true and correct.

                                       6           Executed this ____day of February, 2019 in Los Angeles, California.

                                       7
                                                                                                    see next page
                                       8
                                                                                                        Allen Park
                                       9
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                                       1                                DECLARATION OF DAVID W. MEADOWS

                                       2           I, David W. Meadows, declare as follows:

                                       3           1.      I am an attorney at law and licensed to practice before this Court.   I have personal

                                       4    knowledge of the facts set forth herein, except as to those stated on information and belief and, as to

                                       5    those, I am informed and believe them to be true. If called as a witness, I could and would competently

                                       6    testify to the matters stated herein.

                                       7           2.      I am counsel of record to the following secured creditors: Packo Investments, Inc., Allen

                                       8    Park, M&A Equities, LLC, The BAE Family Trust, Mohamed Sanfaz, and Kap Chan Chong.

                                       9           3.      Attached hereto as Exhibit 1 are true and correct copies of selected pages from the fee
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                                       10   application filed by counsel to the Debtor and Debtor in Possession on February 1, 2019, which appears
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                                       11   as Document Number 76.

                                       12

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                                       14          I declare under penalty of perjury under the laws of the United States of America that the

                                       15   foregoing is true and correct.

                                       16          Executed this 4th day of February, 2019 in Los Angeles, California.

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                                       18                                                                /s/ David W. Meadows
                                                                                                         David W. Meadows
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ϬϴͬϬϵͬϮϬϭϴ    D͘:ŽŶĂƚŚĂŶ,ĂǇĞƐ        ŽƌƌĞƐƉŽŶĚĞŶĐĞ         ŵĂŝůƚŽ:ŝŵ>ƵĐĂƐ͕ĂƚƚǇĨŽƌůĞƌĞ͕ƐƵŵŵĂƌŝǌŝŶŐĐŽŶǀĞƌƐĂƚŝŽŶǇĞƐƚĞƌĚĂǇ                           Ϭ͘ϰϬ         Ϭ͘ϰϬ          z           Ψϰϴϱ͘ϬϬͬŚƌ    Ψϭϵϰ͘ϬϬ
ϬϴͬϭϰͬϮϬϭϴ    D͘:ŽŶĂƚŚĂŶ,ĂǇĞƐ        ƌĂĨƚ                  ĞŐŝŶĚƌĂĨƚŽĨĐŽŵƉůĂŝŶƚĂŐĂŝŶƐƚŽŬǇƵŶƌĞϯϲϯ;ŚͿƚŽƐĞůůŚĞƌŝŶƚĞƌĞƐƚŝĨĂŶǇ                Ϭ͘ϯϬ         Ϭ͘ϯϬ          z           Ψϰϴϱ͘ϬϬͬŚƌ    Ψϭϰϱ͘ϱϬ
ϬϴͬϭϱͬϮϬϭϴ    D͘:ŽŶĂƚŚĂŶ,ĂǇĞƐ        ZĞǀŝĞǁ                 ZĞǀŝĞǁĂŶĚƐŝŐŶƐƚŝƉƵůĂƚŝŽŶƐƚŽĐŽŶƚŝŶƵĞƐƚĂƚĞĐŽƵƌƚŵĂƚƚĞƌƐǁŝƚŚ,ǇƵŶĚĂŝ                        Ϭ͘ϰϬ         Ϭ͘ϰϬ          z           Ψϰϴϱ͘ϬϬͬŚƌ    Ψϭϵϰ͘ϬϬ
ϬϴͬϮϯͬϮϬϭϴ    D͘:ŽŶĂƚŚĂŶ,ĂǇĞƐ        WŚŽŶĞĂůů             dĞůĐŽŶĨǁŝƚŚƌŝĐ^ĂŶŐĞƌŵĂŶĂŶĚ:ŝŵ>ƵĐĂƐƌĞƐƚĂƚƵƐŽĨƐĂůĞƚŽůĞƌĞ                            Ϭ͘ϱϬ         Ϭ͘ϱϬ          z           Ψϰϴϱ͘ϬϬͬŚƌ    ΨϮϰϮ͘ϱϬ
                                                                                                                                                                                                                                Main Document




ϬϴͬϮϯͬϮϬϭϴ    D͘:ŽŶĂƚŚĂŶ,ĂǇĞƐ        WŚŽŶĞĂůů             dĞůĐŽŶĨǁŝƚŚĂƚƚǇƐĨŽƌďƵǇĞƌƌĞƐƚĂƚƵƐŽĨŵŽƚŝŽŶƚŽĂƉƉƌŽǀĞƐĂůĞ                                Ϭ͘ϱϬ         Ϭ͘ϱϬ          z           Ψϰϴϱ͘ϬϬͬŚƌ    ΨϮϰϮ͘ϱϬ
ϬϴͬϮϵͬϮϬϭϴ    D͘:ŽŶĂƚŚĂŶ,ĂǇĞƐ        ƌĂĨƚ                  ƌĂĨƚŵŽƚŝŽŶƚŽĂƉƉƌŽǀĞƐĂůĞŽĨ^ĂŶƚĂ&ĞƚŽůĞƌĞ                                                Ϯ͘ϬϬ         Ϯ͘ϬϬ          z           Ψϰϴϱ͘ϬϬͬŚƌ    ΨϵϳϬ͘ϬϬ
ϬϴͬϮϵͬϮϬϭϴ    D͘:ŽŶĂƚŚĂŶ,ĂǇĞƐ        ŽƌƌĞƐƉŽŶĚĞŶĐĞ         ŵĂŝůƚŽ:ŝŵ>ƵŬĂƐǁŝƚŚŝŶĨŽŽŶƚŽƚĂůůŝĞŶƐĂŶĚƉƌŽƉĞƌƚŝĞƐ                                       Ϭ͘ϯϬ         Ϭ͘ϯϬ          z           Ψϰϴϱ͘ϬϬͬŚƌ    Ψϭϰϱ͘ϱϬ
ϬϴͬϯϬͬϮϬϭϴ    D͘:ŽŶĂƚŚĂŶ,ĂǇĞƐ        ZĞǀŝĞǁ                 ZĞǀŝĞǁŝŶĨŽĨƌŽŵďƌŽŬĞƌ'ĂƌĂďĞĚŝĂŶƌĞƐĂůĞΖƐďƌŽĐŚƵƌĞĞƚĐ͘                                     Ϭ͘ϱϬ         Ϭ͘ϱϬ          z           Ψϰϴϱ͘ϬϬͬŚƌ    ΨϮϰϮ͘ϱϬ
ϬϴͬϯϬͬϮϬϭϴ    D͘:ŽŶĂƚŚĂŶ,ĂǇĞƐ        WŚŽŶĞĂůů             dĞůĐŽŶĨǁŝƚŚǁŝƚŚďƌŽŬĞƌ'ĂƌĂďĞĚŝĂŶƌĞƐƚĂƚƵƐŽĨƐĂůĞ͕ǁŚĂƚƚŽĚŽŶŽǁƚŚĂƚůĞƌĞŚĂƐďĂĐŬĞĚ     Ϭ͘ϱϬ         Ϭ͘ϱϬ          z           Ψϰϴϱ͘ϬϬͬŚƌ    ΨϮϰϮ͘ϱϬ
                                                               ŽƵƚĨŽƌƚŚĞƚŝŵĞďĞŝŶŐ͕ƚĂůŬĂďŽƵƚďƌĞĂŬƵƉĨĞĞƐĞƚĐ͘
ϬϴͬϯϬͬϮϬϭϴ D͘:ŽŶĂƚŚĂŶ,ĂǇĞƐ           ZĞǀŝĞǁ                 ZĞǀŝĞǁĞŵĂŝůĨƌŽŵ'ĂƌĂďĞĚŝĂŶƌĞĞŶǀŝƌŽŶŵĞŶƚĂůŝƐƐƵĞƐĂƚ^ĂŶƚĂ&ĞWƌŽƉĞƌƚǇ͕ĂŶĚĂƚƚĂĐŚĞĚ         Ϭ͘ϯϬ         Ϭ͘ϯϬ          z           Ψϰϴϱ͘ϬϬͬŚƌ    Ψϭϰϱ͘ϱϬ
                                                               ŝŶĨŽ
ϬϴͬϯϬͬϮϬϭϴ D͘:ŽŶĂƚŚĂŶ,ĂǇĞƐ           ŽƌƌĞƐƉŽŶĚĞŶĐĞ         ǆĐŚĂŶŐĞĞŵĂŝůƐǁŝƚŚĂǀŝĚDĞĂĚŽǁƐƌĞƐƚĂƚƵƐŽĨůĞƌĞƐĂůĞĂŶĚŝƐƐƵĞƐďƌŽƵŐŚƚƵƉďǇ             Ϭ͘ϯϬ         Ϭ͘ϯϬ          z           Ψϰϴϱ͘ϬϬͬŚƌ    Ψϭϰϱ͘ϱϬ
                                                                                                                                                                                                                                                 Page 22 of 31




                                                               'ĂƌĂďĞĚŝĂŶ
ϬϴͬϯϬͬϮϬϭϴ D͘:ŽŶĂƚŚĂŶ,ĂǇĞƐ           ŽƌƌĞƐƉŽŶĚĞŶĐĞ         ǆĐŚĂŶŐĞĞŵĂŝůƐƌĞŶĞĞĚƚŽƐƉĞĂŬƚŽŽƵƌďƌŽŬĞƌ͕ĂŶĚĨƌŽŵůĞƌĞĂƚƚǇƐƚŚĂƚƚŚĞǇĚŽŶΖƚǁĂŶƚƚŽ    Ϭ͘ϯϬ         Ϭ͘ϯϬ          z           Ψϰϴϱ͘ϬϬͬŚƌ    Ψϭϰϱ͘ϱϬ
                                                               ŐŽĨŽƌǁĂƌĚǁŝƚŚƐĂůĞ
ϬϴͬϯϭͬϮϬϭϴ D͘:ŽŶĂƚŚĂŶ,ĂǇĞƐ           ŽƌƌĞƐƉŽŶĚĞŶĐĞ         ǆĐŚĂŶŐĞĨƵƌƚŚĞƌĞŵĂŝůƐǁŝƚŚĂǀĞDĞĂĚŽǁƐƌĞŝƐƐƵĞƐǁŝƚŚd^                                    Ϭ͘ϮϬ         Ϭ͘ϮϬ          z           Ψϰϴϱ͘ϬϬͬŚƌ    Ψϵϳ͘ϬϬ
ϬϴͬϯϭͬϮϬϭϴ D͘:ŽŶĂƚŚĂŶ,ĂǇĞƐ           ZĞǀŝĞǁ                 ZĞǀŝĞǁƉƌŝŶƚŽƵƚĨƌŽŵŶǀŝƌŽƐƚŽƌƉƌŽǀŝĚĞĚďǇ'ĂƌĂďĞĚŝĂŶ͕ƌĞǀŝĞǁŝŶĨŽĨƌŽŵ'ĞŽƚƌĂĐŬĞƌ             Ϭ͘ϱϬ         Ϭ͘ϱϬ          z           Ψϰϴϱ͘ϬϬͬŚƌ    ΨϮϰϮ͘ϱϬ
                                                               ǁĞďƐŝƚĞ
ϬϵͬϬϴͬϮϬϭϴ D͘:ŽŶĂƚŚĂŶ,ĂǇĞƐ           ŽƌƌĞƐƉŽŶĚĞŶĐĞ         ŵĂŝůƚŽDĂƌǀŝŶ^ĂĐŚƐĞ͕ĞŶǀŝƌŽŶŵĞŶƚĂůĞŶŐŝŶĞĞƌĨŽƌDƌ͘ǇƵŶͲĂďŽƵƚŵĞĞƚŝŶŐǁŝƚŚŚŝŵĂŶĚ        Ϭ͘ϯϬ         Ϭ͘ϯϬ          z           Ψϰϴϱ͘ϬϬͬŚƌ    Ψϭϰϱ͘ϱϬ
                                                               ǁŚĂƚ/ŶĞĞĚ͕ƌĞǀŝĞǁǁĞďƐŝƚĞǁŝƚŚŝŶĨŽŽŶDĂƌǀŝŶ
ϬϵͬϬϴͬϮϬϭϴ D͘:ŽŶĂƚŚĂŶ,ĂǇĞƐ           ŽƌƌĞƐƉŽŶĚĞŶĐĞ         ŵĂŝůƚŽDĂǀĞůƌĞŶĞĞĚƚŽĐŽŶƚĂĐƚDƌ͘ǇƵŶΖƐƚĂǆŐƵǇ͕ůůĂŶWĂƌŬ                                 Ϭ͘ϭϬ         Ϭ͘ϭϬ          z           Ψϰϴϱ͘ϬϬͬŚƌ    Ψϰϴ͘ϱϬ
                                                                                                                                                                                                                                Doc 79 Filed 02/04/19 Entered 02/04/19 11:18:21




ϬϵͬϭϰͬϮϬϭϴ D͘:ŽŶĂƚŚĂŶ,ĂǇĞƐ           ZĞǀŝĞǁ                 ZĞǀŝĞǁƐĂůĞƐĨůǇĞƌƐƉƌŽǀŝĚĞĚďǇ<͘'ĂƌĂďĞĚŝĂŶĨŽƌƚŚĞƚŚƌĞĞƉƌŽƉĞƌƚŝĞƐůŝƐƚĞĚĨŽƌƐĂůĞ           Ϭ͘ϰϬ         Ϭ͘ϰϬ          z           Ψϰϴϱ͘ϬϬͬŚƌ    Ψϭϵϰ͘ϬϬ
ϬϵͬϮϭͬϮϬϭϴ D͘:ŽŶĂƚŚĂŶ,ĂǇĞƐ           ŽƌƌĞƐƉŽŶĚĞŶĐĞ         ŵĂŝůƚŽůĞƌĞĂƚƚǇ:ŝŵ,ƵŶƚĞƌƌĞĐĂŶĐĞůůŝŶŐĞƐĐƌŽǁĂŶĚŐĞƚƚŝŶŐƚŚĞƐĂůĞƐĚŝƐĐƵƐƐŝŽŶƐŐŽŝŶŐ     Ϭ͘ϮϬ         Ϭ͘ϮϬ          z           Ψϰϴϱ͘ϬϬͬŚƌ    Ψϵϳ͘ϬϬ
                                                               ĂŐĂŝŶ
ϬϵͬϮϰͬϮϬϭϴ D͘:ŽŶĂƚŚĂŶ,ĂǇĞƐ           ŽƌƌĞƐƉŽŶĚĞŶĐĞ         ZĞǀŝĞǁĐĂŶĐĞůůĂƚŝŽŶŝŶƐƚƌƵĐƚŝŽŶƐƌĞůĞƌĞĞƐĐƌŽǁĂŶĚƐĞǀĞƌĂůĞŵĂŝůƐƌĞƐĂŵĞ                      Ϭ͘ϮϬ         Ϭ͘ϮϬ          z           Ψϰϴϱ͘ϬϬͬŚƌ    Ψϵϳ͘ϬϬ
                                                                                                                                                                                                                                                        Desc




ϬϵͬϮϰͬϮϬϭϴ D͘:ŽŶĂƚŚĂŶ,ĂǇĞƐ           ŽƌƌĞƐƉŽŶĚĞŶĐĞ         ǆĐŚĂŶŐĞƐĞǀĞƌĂůĞŵĂŝůƐǁŝƚŚ:ŝŵ>ƵŬĂƐƌĞĐĂŶĐĞůůĂƚŝŽŶŽĨƚŚĞĞƐĐƌŽǁŽƌƉƌŽĐĞĞĚŝŶŐǁŝƚŚƚŚĞ     Ϭ͘ϯϬ         Ϭ͘ϯϬ          z           Ψϰϴϱ͘ϬϬͬŚƌ    Ψϭϰϱ͘ϱϬ
                                                               ƐĂůĞ
                                     Case 2:18-bk-19004-VZ                  Doc 76 Filed 02/01/19 Entered 02/01/19 18:07:08                                           Desc
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ϬϵͬϮϰͬϮϬϭϴ D͘:ŽŶĂƚŚĂŶ,ĂǇĞƐ     WŚŽŶĞĂůů       dĞůĐŽŶĨǁŝƚŚ<ŝƌŬƌĞƐƚĂƚƵƐŽĨƐĂůĞŽĨ^ĂŶƚĂ&ĞĂĨƚĞƌ/ĂĚǀŝƐĞĚŚŝŵŽĨĞŵĂŝůƐǁŝƚŚ:ŝŵ>ƵŬĂƐƌĞ    Ϭ͘ϯϬ   Ϭ͘ϯϬ      z   Ψϰϴϱ͘ϬϬͬŚƌ   Ψϭϰϱ͘ϱϬ
                                                   ĐĂŶĐĞůůĂƚŝŽŶŽĨƚŚĞĞƐĐƌŽǁŽƌƉƌŽĐĞĞĚŝŶŐǁŝƚŚƚŚĞƐĂůĞ
ϬϵͬϮϱͬϮϬϭϴ D͘:ŽŶĂƚŚĂŶ,ĂǇĞƐ     ŽƌƌĞƐƉŽŶĚĞŶĐĞ   ŵĂŝůƚŽĐůŝĞŶƚƌĞĐŽŶǀĞƌƐĂƚŝŽŶǁŝƚŚ:ŝŵ>ƵŬĂƐ͕ĂƚƚǇĨŽƌůĞƌĞ͕ƌĞůĞƌĞΖƐŝŶƚĞƌĞƐƚŝŶƉƌŽĐĞĞĚŝŶŐ   Ϭ͘ϯϬ   Ϭ͘ϯϬ      z   Ψϰϴϱ͘ϬϬͬŚƌ   Ψϭϰϱ͘ϱϬ
                                                   ǁŝƚŚƚŚĞƉƵƌĐŚĂƐĞŽĨƚŚĞ^ĂŶƚĂ&ĞWƌŽƉĞƌƚǇ
ϬϵͬϮϱͬϮϬϭϴ D͘:ŽŶĂƚŚĂŶ,ĂǇĞƐ     ŽƌƌĞƐƉŽŶĚĞŶĐĞ   ǆĐŚĂŶŐĞĞŵĂŝůƐǁŝƚŚ<ŝƌŬ'ĂƌďĞĚŝĂŶƌĞĐŽŶǀĞƌƐĂƚŝŽŶǁŝƚŚ:ŝŵ>ƵŬĂƐ͕ĂƚƚǇĨŽƌůĞƌĞ͕ƌĞůĞƌĞΖƐ      Ϭ͘ϮϬ   Ϭ͘ϮϬ      z   Ψϰϴϱ͘ϬϬͬŚƌ   Ψϵϳ͘ϬϬ
                                                   ŝŶƚĞƌĞƐƚŝŶƉƌŽĐĞĞĚŝŶŐǁŝƚŚƚŚĞƉƵƌĐŚĂƐĞŽĨƚŚĞ^ĂŶƚĂ&ĞWƌŽƉĞƌƚǇ
ϬϵͬϮϱͬϮϬϭϴ D͘:ŽŶĂƚŚĂŶ,ĂǇĞƐ     WŚŽŶĞĂůů       dĞůĐŽŶĨǁŝƚŚ:ŝŵ>ƵŬĂƐ͕ĂƚƚǇĨŽƌůĞƌĞ͕ƌĞůĞƌĞΖƐŝŶƚĞƌĞƐƚŝŶƉƌŽĐĞĞĚŝŶŐǁŝƚŚƚŚĞƉƵƌĐŚĂƐĞŽĨ     Ϭ͘ϰϬ   Ϭ͘ϰϬ      z   Ψϰϴϱ͘ϬϬͬŚƌ   Ψϭϵϰ͘ϬϬ
                                                   ƚŚĞ^ĂŶƚĂ&ĞWƌŽƉĞƌƚǇ
ϬϵͬϮϲͬϮϬϭϴ D͘:ŽŶĂƚŚĂŶ,ĂǇĞƐ     WŚŽŶĞĂůů       dĞůĐŽŶĨǁŝƚŚĂǀĞDĞĂĚŽǁƐƚŽƵƉĚĂƚĞŚŝŵƌĞůĞƌĞĂŶĚŵǇŵĞĞƚŝŶŐǁŝƚŚDĂƌǀŝŶ^ĂĐŚĞ͕                 Ϭ͘ϰϬ   Ϭ͘ϰϬ      z   Ψϰϴϱ͘ϬϬͬŚƌ   Ψϭϵϰ͘ϬϬ
                                                   ĞŶǀŝƌŽŶŵĞŶƚĂůĞŶŐŝŶĞĞƌƌĞ^ĂŶƚĂ&ĞƉƌŽƉĞƌƚǇ͘
ϬϵͬϮϲͬϮϬϭϴ D͘:ŽŶĂƚŚĂŶ,ĂǇĞƐ     DĞĞƚŝŶŐ          ŽŶĨǁŝƚŚDĂƌǀŝŶ^ĂĐŚĞ͕ĞŶǀŝƌŽŶŵĞŶƚĂůĞŶŐŝŶĞĞƌ͕ĂƚƚŚŝƐŽĨĨŝĐĞƌĞĞŶǀŝƌŽŶŵĞŶƚĂůŝƐƐƵĞƐǁŝƚŚ         Ϯ͘ϲϬ   Ϯ͘ϲϬ      z   Ψϰϴϱ͘ϬϬͬŚƌ   Ψϭ͕Ϯϲϭ͘ϬϬ
                                                   ƚŚĞ^ĂŶƚĂ&ĞƉƌŽƉĞƌƚǇ͘
ϬϵͬϮϳͬϮϬϭϴ D͘:ŽŶĂƚŚĂŶ,ĂǇĞƐ     ŽƌƌĞƐƉŽŶĚĞŶĐĞ   ŵĂŝůƚŽ,ǇƵŶĚĂŝĂƚƚǇƌĞƐƚĂƚƵƐŽĨƐĂůĞƚŽůĞƌĞ͕ĨƌŽǁĂƌĚƚŽĐůŝĞŶƚǁŝƚŚĐŽŵŵĞŶƚƐ                    Ϭ͘ϮϬ   Ϭ͘ϮϬ      z   Ψϰϴϱ͘ϬϬͬŚƌ   Ψϵϳ͘ϬϬ
                                                                                                                                                                                                                              Case 2:18-bk-19004-VZ




ϬϵͬϮϴͬϮϬϭϴ DĂƚƚŚĞǁ͘ZĞƐŶŝŬ    ZĞǀŝĞǁ           ƌĞǀŝĞǁŽĨĞŶǀŝƌŽŶŵĞŶƚĂůĐŽŶĐĞƌŶƐĂŶĚĚŝƐĐƵƐƐĞĚƉĂƌĂŵĞƚĞƌƐŽĨĨƐĂůĞĂŶĚƐƚƌĂƚĞŐǇŵŽǀŝŶŐ              Ϭ͘ϰϬ   Ϭ͘ϰϬ      z   ΨϰϱϬ͘ϬϬͬŚƌ   ΨϭϴϬ͘ϬϬ
                                                   ĨŽƌǁĂƌĚ
ϬϵͬϮϵͬϮϬϭϴ D͘:ŽŶĂƚŚĂŶ,ĂǇĞƐ     ŽƌƌĞƐƉŽŶĚĞŶĐĞ   dǁŽŵŽƌĞĞŵĂŝůƐƚŽ<ŝƌŬƌĞƋƵĞƐƚŝŽŶƐƌĞƚŚĞW^͕ƌĞĂůůƚŚĞƌĞƉŽƌƚƐĂŶĚƚŚŝŶŐƐǁĞĂƌĞ               Ϭ͘ϰϬ   Ϭ͘ϰϬ      z   Ψϰϴϱ͘ϬϬͬŚƌ   Ψϭϵϰ͘ϬϬ
                                                   ƐƵƉƉŽƐĞĚƚŽƉƌŽǀŝĚĞ͕ŚĂƐƚŚĂƚďĞĞŶĚŽŶĞ͕ŶĂŵĞŽĨƐĞůůĞƌŚĂƐƚŽďĞĐŚĂŶŐĞĚ
ϬϵͬϮϵͬϮϬϭϴ   D͘:ŽŶĂƚŚĂŶ,ĂǇĞƐ   ŽƌƌĞƐƉŽŶĚĞŶĐĞ   ŵĂŝůƚŽDĂƌǀŝŶƌĞƌĞƉŽƌƚƐŚĞŵĂǇŚĂǀĞƚŚĂƚǁĞĐĂŶƉƌŽǀŝĚĞƚŽůĞƌĞ                                  Ϭ͘ϯϬ   Ϭ͘ϯϬ      z   Ψϰϴϱ͘ϬϬͬŚƌ   Ψϭϰϱ͘ϱϬ
ϬϵͬϮϵͬϮϬϭϴ   D͘:ŽŶĂƚŚĂŶ,ĂǇĞƐ   ŽƌƌĞƐƉŽŶĚĞŶĐĞ   ŵĂŝůƚŽ<ŝƌŬƌĞŵĂƌŬĞƚŝŶŐŝŶĨŽǁĞŶĞĞĚĨŽƌƚŚĞŵŽƚŝŽŶƚŽĂƉƉƌŽǀĞƐĂůĞŽĨ^ĂŶƚĂ&Ğ                   Ϭ͘ϯϬ   Ϭ͘ϯϬ      z   Ψϰϴϱ͘ϬϬͬŚƌ   Ψϭϰϱ͘ϱϬ
ϬϵͬϮϵͬϮϬϭϴ   D͘:ŽŶĂƚŚĂŶ,ĂǇĞƐ   KƚŚĞƌ            tŽƌŬŽŶDŽƚŝŽŶƚŽƉƉƌŽǀĞ^ĂůĞŽĨ^ĂŶƚĂ&Ğ                                                           ϭ͘ϬϬ   ϭ͘ϬϬ      z   Ψϰϴϱ͘ϬϬͬŚƌ   Ψϰϴϱ͘ϬϬ
ϬϵͬϮϵͬϮϬϭϴ   D͘:ŽŶĂƚŚĂŶ,ĂǇĞƐ   ZĞǀŝĞǁ           ZĞǀŝĞǁĐĂƌĞĨƵůůǇƚŚĞW^ĨŽƌƵƐĞǁŝƚŚƚŚĞŵŽƚŝŽŶƚŽĂƉƉƌŽǀĞƐĂůĞ                                     Ϭ͘ϴϬ   Ϭ͘ϴϬ      z   Ψϰϴϱ͘ϬϬͬŚƌ   Ψϯϴϴ͘ϬϬ
ϭϬͬϬϭͬϮϬϭϴ   D͘:ŽŶĂƚŚĂŶ,ĂǇĞƐ   DĞĞƚŝŶŐ          ŽŶĨǁŝƚŚDƌ͘ǇƵŶĂŶĚ<ǇƵƌĞƵƉĚĂƚĞĚŝŶĨŽŽŶŝŶƚĞƌĞƐƚŽĨůĞƌĞŝŶďƵǇŝŶŐ^ĂŶƚĂ&Ğ͕ĂŶĚ             Ϯ͘ϬϬ   Ϯ͘ϬϬ      z   Ψϰϴϱ͘ϬϬͬŚƌ   ΨϵϳϬ͘ϬϬ
                                                                                                                                                                                                      Main Document




                                                   ƵƉĚĂƚĞƌĞŵǇŵĞĞƚŝŶŐǁŝƚŚDĂƌǀŝŶƌĞĞŶǀŝƌŽŶŵĞŶƚĂůŝƐƐƵĞƐ
ϭϬͬϬϵͬϮϬϭϴ   D͘:ŽŶĂƚŚĂŶ,ĂǇĞƐ   WŚŽŶĞĂůů       dĞůĐŽŶĨǁŝƚŚ<ŝƌŬƌĞŶĞǁĞŶƚŝƚǇƚŽďƵǇ^ĂŶƚĂ&ĞĂŶĚƌĞůĂƚĞĚĐŽŶĨĐĂůů                               Ϭ͘ϯϬ   Ϭ͘ϯϬ      z   Ψϰϴϱ͘ϬϬͬŚƌ   Ψϭϰϱ͘ϱϬ
ϭϬͬϬϵͬϮϬϭϴ   D͘:ŽŶĂƚŚĂŶ,ĂǇĞƐ   WŚŽŶĞĂůů       dĞůĐŽŶĨǁŝƚŚ<ŝƌŬĂŶĚďƌŽŬĞƌƐĨŽƌŶĞǁďƵǇĞƌƌĞƐƚĂƚƵƐŽĨďŬĂŶĚƐĂůĞƐƉƌŽĐĞƐƐ                       Ϭ͘ϰϬ   Ϭ͘ϰϬ      z   Ψϰϴϱ͘ϬϬͬŚƌ   Ψϭϵϰ͘ϬϬ
ϭϬͬϬϵͬϮϬϭϴ   D͘:ŽŶĂƚŚĂŶ,ĂǇĞƐ   ZĞǀŝƐĞ           &ƵƌƚŚĞƌǁŽƌŬĂŶĚƌĞǀŝƐĞDŽƚŝŽŶƚŽƉƉƌŽǀĞ^ĂůĞƚŽůĞƌĞ                                              Ϯ͘ϬϬ   Ϯ͘ϬϬ      z   Ψϰϴϱ͘ϬϬͬŚƌ   ΨϵϳϬ͘ϬϬ
ϭϬͬϭϬͬϮϬϭϴ   D͘:ŽŶĂƚŚĂŶ,ĂǇĞƐ   ŽƌƌĞƐƉŽŶĚĞŶĐĞ   ŵĂŝůĚƌĂĨƚDŽƚŝŽŶƚŽƉƉƌŽǀĞ^ĂůĞƚŽůĞƌĞƚŽĂǀŝĚDĞĂĚŽǁƐǁŝƚŚĐŽŵŵĞŶƚƐ                           Ϭ͘ϮϬ   Ϭ͘ϮϬ      z   Ψϰϴϱ͘ϬϬͬŚƌ   Ψϵϳ͘ϬϬ
ϭϬͬϭϬͬϮϬϭϴ   D͘:ŽŶĂƚŚĂŶ,ĂǇĞƐ   ŽƌƌĞƐƉŽŶĚĞŶĐĞ   ŵĂŝůƚŽĐůŝĞŶƚƐƌĞŵĞĞƚŝŶŐƚŽƌĞǀŝĞǁDŽƚŝŽŶƚŽƉƉƌŽǀĞ^ĂůĞƚŽůĞƌĞ                                Ϭ͘ϮϬ   Ϭ͘ϮϬ      z   Ψϰϴϱ͘ϬϬͬŚƌ   Ψϵϳ͘ϬϬ
ϭϬͬϭϬͬϮϬϭϴ   D͘:ŽŶĂƚŚĂŶ,ĂǇĞƐ   ŽƌƌĞƐƉŽŶĚĞŶĐĞ   ŵĂŝůĚƌĂĨƚDŽƚŝŽŶƚŽƉƉƌŽǀĞ^ĂůĞƚŽůĞƌĞƚŽĐůŝĞŶƚǁŝƚŚĐŽŵŵĞŶƚƐ                                  Ϭ͘ϮϬ   Ϭ͘ϮϬ      z   Ψϰϴϱ͘ϬϬͬŚƌ   Ψϵϳ͘ϬϬ
ϭϬͬϭϬͬϮϬϭϴ   D͘:ŽŶĂƚŚĂŶ,ĂǇĞƐ   ZĞǀŝƐĞ           &ŝŶƐŝŚƵƉĨŝƌƐƚĚƌĂĨƚŽĨDŽƚŝŽŶƚŽƉƉƌŽǀĞ^ĂůĞƚŽůĞƌĞ                                             Ϯ͘ϱϬ   Ϯ͘ϱϬ      z   Ψϰϴϱ͘ϬϬͬŚƌ   Ψϭ͕ϮϭϮ͘ϱϬ
                                                                                                                                                                                                                       Page 23 of 31




ϭϬͬϭϭͬϮϬϭϴ   D͘:ŽŶĂƚŚĂŶ,ĂǇĞƐ   DĞĞƚŝŶŐ          ŽŶĨǁŝƚŚDƌ͘ƵŶ͕<ǇƵĂŶĚDŝĐŚĂĞůƌĞ^ŽŶŐƌĞǁŚĞƌĞǁĞƐƚĂŶĚŽŶƐĂůĞŽĨ^ĂŶƚĂ&Ğ͕ƚĞůĐŽŶĨ          Ϯ͘ϬϬ   Ϯ͘ϬϬ      z   Ψϰϴϱ͘ϬϬͬŚƌ   ΨϵϳϬ͘ϬϬ
                                                   ǁŝƚŚ<ŝƌŬĚƵƌŝŶŐƚŚĞŵĞĞƚŝŶŐƚŽƵƉĚĂƚĞŚŝŵ
ϭϬͬϭϭͬϮϬϭϴ D͘:ŽŶĂƚŚĂŶ,ĂǇĞƐ     ŽƌƌĞƐƉŽŶĚĞŶĐĞ   ZĞǀŝĞǁĞŵĂŝůĨƌŽŵĂǀŝĚDĞĂĚŽǁƐǁŝƚŚŚŝƐĐŽŵŵĞŶƚƐŽŶƚŚĞŵŽƚŝŽŶĂŶĚŚŝƐŝŶƚĞŶƚƚŽŽďũĞĐƚ Ϭ͘ϮϬ              Ϭ͘ϮϬ      z   Ψϰϴϱ͘ϬϬͬŚƌ   Ψϵϳ͘ϬϬ
                                                   ƚŽƚŚĂƚƉĂƌƚŝĐƵůĂƌŵŽƚŝŽŶ
ϭϬͬϭϮͬϮϬϭϴ D͘:ŽŶĂƚŚĂŶ,ĂǇĞƐ     ŽƌƌĞƐƉŽŶĚĞŶĐĞ   ŵĂŝůƚŽĂǀŝĚDĞĂĚŽǁƐƌĞŶĞǁŝĚĞĂƐŽŶƚŚĞƐĂůĞŽĨ^ĂŶƚĂ&Ğ͕ƌĞǀŝĞǁŚŝƐƌĞƐƉŽŶƐĞ                Ϭ͘ϯϬ        Ϭ͘ϯϬ      z   Ψϰϴϱ͘ϬϬͬŚƌ   Ψϭϰϱ͘ϱϬ
ϭϬͬϭϱͬϮϬϭϴ D͘:ŽŶĂƚŚĂŶ,ĂǇĞƐ     ŽƌƌĞƐƉŽŶĚĞŶĐĞ   >ĞŶŐƚŚǇĞŵĂŝůƚŽ:ŝŵ>ƵŬĂƐ͕ĂƚƚǇĨŽƌůĞƌĞ͕ƌĞƉƌŽďůĞŵƐǁŝƚŚƚŚĞƐĂůĞŵŽƚŝŽŶĂŶĚƚŚĂƚǁĞĂƌĞ Ϭ͘ϱϬ
                                                   >ĞŶŐƚŚǇĞŵĂŝůƚŽ:ŝŵ>ƵŬĂƐ͕ĂƚƚǇĨŽƌůĞƌĞ͕ƌĞƉƌŽďůĞŵƐǁŝƚŚƚŚĞƐĂůĞŵŽƚŝŽŶĂŶĚƚŚĂƚǁĞĂƌĞ                Ϭ͘ϱϬ      z   Ψϰϴϱ͘ϬϬͬŚƌ   ΨϮϰϮ͘ϱϬ
                                                   ŶŽƚŐŽŝŶŐƚŽƉƌŽĐĞĞĚǁŝƚŚŽƵƚĐŽŶĐĞƐƐŝŽŶƐ
ϭϬͬϭϳͬϮϬϭϴ   D͘:ŽŶĂƚŚĂŶ,ĂǇĞƐ   WŚŽŶĞĂůů       dĞůĐŽŶĨǁŝƚŚ:ŝŵ>ƵŬĂƐƌĞŶĞĞĚƚŽĐŚĂŶŐĞƚŚĞůĞƌĞƚƌĂŶƐĂĐƚŝŽŶŽƌƌĞũĞĐƚŝƚ                    Ϭ͘ϱϬ        Ϭ͘ϱϬ      z   Ψϰϴϱ͘ϬϬͬŚƌ   ΨϮϰϮ͘ϱϬ
ϭϬͬϭϳͬϮϬϭϴ   D͘:ŽŶĂƚŚĂŶ,ĂǇĞƐ   WŚŽŶĞĂůů       >ĞŶŐƚŚǇƚĞůĐŽŶĨǁŝƚŚǀĂŶ:ŽŶĞƐĂŶĚĂƌƌĞŶWĂƚƌŝĐŬƌĞƐƚĂƚƵƐŽĨƐĂůĞƚŽůĞƌĞ                  Ϭ͘ϴϬ        Ϭ͘ϴϬ      z   Ψϰϴϱ͘ϬϬͬŚƌ   Ψϯϴϴ͘ϬϬ
                                                                                                                                                                                                      Doc 79 Filed 02/04/19 Entered 02/04/19 11:18:21




ϭϬͬϭϴͬϮϬϭϴ   D͘:ŽŶĂƚŚĂŶ,ĂǇĞƐ   ŽƌƌĞƐƉŽŶĚĞŶĐĞ   ŵĂŝůƚŽĐůŝĞŶƚƌĞƐƵďƐƚĂŶĐĞŽĨƉŚŽŶĞĐĂůůǁŝƚŚ:ŝŵ>ƵŬĂƐ͕ĂƚƚǇĨŽƌůĞƌĞ͕ǇĞƐƚĞƌĚĂǇ            Ϭ͘ϰϬ        Ϭ͘ϰϬ      z   Ψϰϴϱ͘ϬϬͬŚƌ   Ψϭϵϰ͘ϬϬ
ϭϬͬϭϴͬϮϬϭϴ   D͘:ŽŶĂƚŚĂŶ,ĂǇĞƐ   ŽƌƌĞƐƉŽŶĚĞŶĐĞ   ŵĂŝůƚŽ<ŝƌŬ'ĂƌĂďĚŝĂŶǁŝƚŚƌĞƐƵďƐƚĂŶĐĞŽĨƉŚŽŶĞĐĂůůǁŝƚŚ:ŝŵ>ƵŬĂƐ͕ĂƚƚǇĨŽƌůĞƌĞ͕ǇĞƐƚĞƌĚĂϬ͘ϭϬ        Ϭ͘ϭϬ      z   Ψϰϴϱ͘ϬϬͬŚƌ   Ψϰϴ͘ϱϬ
ϭϬͬϭϴͬϮϬϭϴ   D͘:ŽŶĂƚŚĂŶ,ĂǇĞƐ   ŽƌƌĞƐƉŽŶĚĞŶĐĞ   ŵĂŝůƚŽǀŝĚDĞĂĚŽǁƐǁŝƚŚƌĞƐƵďƐƚĂŶĐĞŽĨƉŚŽŶĞĐĂůůǁŝƚŚ:ŝŵ>ƵŬĂƐ͕ĂƚƚǇĨŽƌůĞƌĞ͕ǇĞƐƚĞƌĚϬ͘ϭϬ          Ϭ͘ϭϬ      z   Ψϰϴϱ͘ϬϬͬŚƌ   Ψϰϴ͘ϱϬ
ϭϬͬϭϵͬϮϬϭϴ   D͘:ŽŶĂƚŚĂŶ,ĂǇĞƐ   ŽƌƌĞƐƉŽŶĚĞŶĐĞ   ŵĂŝůƚŽĐůŝĞŶƚƌĞŵǇĐŽŶǀĞƌƐĂƚŝŽŶǁŝƚŚǀĂŶ:ŽŶĞƐŽŶtĞĚŶĞƐĚĂǇƌĞƐƚƌĂƚĞŐǇŝŶƚŚĞƐĂůĞŽĨ^ĂŶϬ͘ϯϬ          Ϭ͘ϯϬ      z   Ψϰϴϱ͘ϬϬͬŚƌ   Ψϭϰϱ͘ϱϬ
                                                                                                                                                                                                                              Desc




ϭϬͬϭϵͬϮϬϭϴ   D͘:ŽŶĂƚŚĂŶ,ĂǇĞƐ   WŚŽŶĞĂůů       dĞůĐŽŶĨǁŝƚŚ<ŝƌŬƌĞŶĞǁĞǀĞŶƚƐǁŝƚŚůĞƌĞĂŶĚǁŚĂƚŝƐŶĞĞĚƚŽƉƌŽĐĞĞĚĂŶĚŚŽǁƚŚŝƐŝƐůŝŬĞůǇƚϬ͘ϰϬ        Ϭ͘ϰϬ      z   Ψϰϴϱ͘ϬϬͬŚƌ   Ψϭϵϰ͘ϬϬ
ϭϬͬϭϵͬϮϬϭϴ   D͘:ŽŶĂƚŚĂŶ,ĂǇĞƐ   ŽƌƌĞƐƉŽŶĚĞŶĐĞ   ŵĂŝůƚŽ:ŝŵ>ƵŬĂƐǁŝƚŚƌĞǀŝĞǁŽĨŽƵƌĚŝƐĐƵƐƐŝŽŶĂŶĚŚŽǁ/ďĞůŝĞǀĞƚŚĞĂŵĞŶĚŵĞŶƚƐǁŝůůǁŽƌŬ Ϭ͘ϰϬ            Ϭ͘ϰϬ      z   Ψϰϴϱ͘ϬϬͬŚƌ   Ψϭϵϰ͘ϬϬ
                                     Case 2:18-bk-19004-VZ                 Doc 76 Filed 02/01/19 Entered 02/01/19 18:07:08                                      Desc
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ϭϬͬϭϵͬϮϬϭϴ   D͘:ŽŶĂƚŚĂŶ,ĂǇĞƐ   ŽƌƌĞƐƉŽŶĚĞŶĐĞ   ZĞǀŝĞǁĂŶĚƌĞƐƉŽŶĚƚŽĞŵĂŝůƐĨƌŽŵ:ŝŵ>ƵŬĂƐƌĞďƌĞĂŬƵƉĨĞĞ                                     Ϭ͘ϯϬ   Ϭ͘ϯϬ      z   Ψϰϴϱ͘ϬϬͬŚƌ   Ψϭϰϱ͘ϱϬ
ϭϬͬϭϵͬϮϬϭϴ   D͘:ŽŶĂƚŚĂŶ,ĂǇĞƐ   WŚŽŶĞĂůů       dĞůĐŽŶĨǁŝƚŚ:ŝŵ>ƵŬĂƐƌĞƐĂůĞƚŽůĞƌĞ͕ĚŝƐĐƵƐƐŝŶŐƉƌŽƉŽƐĞĚĂŵĞŶĚĞĚƚĞƌŵƐĨŽƌƚŚĞĞǆŝƐƚŝŶŐW^Ϭ͘ϱϬ   Ϭ͘ϱϬ      z   Ψϰϴϱ͘ϬϬͬŚƌ   ΨϮϰϮ͘ϱϬ
ϭϬͬϭϵͬϮϬϭϴ   D͘:ŽŶĂƚŚĂŶ,ĂǇĞƐ   WŚŽŶĞĂůů       dĞůĐŽŶĨǁŝƚŚĂǀĞDĞĂĚŽǁƐƚŽƌĞǀŝĞǁŵǇĐŽŶǀĞƌƐĂƚŝŽŶǁŝƚŚ:ŝŵ>ƵŬĂƐƌĞƉƌŽƉŽƐĞĚĂŵĞŶĚĞĚϬ͘ϰϬ          Ϭ͘ϰϬ      z   Ψϰϴϱ͘ϬϬͬŚƌ   Ψϭϵϰ͘ϬϬ
ϭϬͬϮϬͬϮϬϭϴ   D͘:ŽŶĂƚŚĂŶ,ĂǇĞƐ   ZĞǀŝĞǁ           YƵŝĐŬůǇƌĞǀŝĞǁϯWŚĂƐĞ//ƌĞƉŽƌƚƐĨƌŽŵϮϬϬϭͲϮϬϬϯ                                               Ϭ͘ϯϬ   Ϭ͘ϯϬ      z   Ψϰϴϱ͘ϬϬͬŚƌ   Ψϭϰϱ͘ϱϬ
ϭϬͬϮϯͬϮϬϭϴ   D͘:ŽŶĂƚŚĂŶ,ĂǇĞƐ   WŚŽŶĞĂůů       dĞůĐŽŶĨǁŝƚŚĂǀŝĚDĞĂĚŽǁƐƌĞŵǇĐŽŶǀĞƌƐĂƚŝŽŶǁŝƚŚ:ŝŵ>ƵŬĂƐĂŶĚƌŝĐ^ĂŐĞƌŵĂŶ͕ĂƚƚǇƐĨŽƌϬ͘ϱϬ
                                                                                          ĐŽŶǀĞƌƐĂƚŝŽŶǁŝƚŚ:ŝŵ>ƵŬĂƐĂŶĚƌŝĐ^ĂŐĞƌŵĂ                   Ϭ͘ϱϬ      z   Ψϰϴϱ͘ϬϬͬŚƌ   ΨϮϰϮ͘ϱϬ
ϭϬͬϮϯͬϮϬϭϴ   D͘:ŽŶĂƚŚĂŶ,ĂǇĞƐ   WŚŽŶĞĂůů       dĞůĐŽŶĨǁŝƚŚ:ŝŵ>ƵŬĂƐĂŶĚƌŝĐ^ĂŐĞƌŵĂŶ͕ĂƚƚǇƐĨŽƌůĞƌĞ͕ƌĞĚĞƚĂŝůƐŽĨƐĂůĞƚŽůĞƌĞ        Ϭ͘ϰϬ   Ϭ͘ϰϬ      z   Ψϰϴϱ͘ϬϬͬŚƌ   Ψϭϵϰ͘ϬϬ
ϭϬͬϮϱͬϮϬϭϴ   D͘:ŽŶĂƚŚĂŶ,ĂǇĞƐ   ŽƌƌĞƐƉŽŶĚĞŶĐĞ   ǆĐŚĂŶŐĞĞŵĂŝůƐǁŝƚŚ:ŝŵ>ƵŬĂƐƚŚĂƚůĞƌĞŝƐĂŐĂŝŶďĂĐŬŝŶŐŽƵƚŽĨƚŚĞƐĂůĞŽĨ^ĂŶƚĂ&ĞĂŶĚǁŝƚŚϬ͘ϯϬ   Ϭ͘ϯϬ      z   Ψϰϴϱ͘ϬϬͬŚƌ   Ψϭϰϱ͘ϱϬ
ϭϬͬϮϲͬϮϬϭϴ   D͘:ŽŶĂƚŚĂŶ,ĂǇĞƐ   ŽƌƌĞƐƉŽŶĚĞŶĐĞ   ŵĂŝůƚŽǀĂŶ:ŽŶĞƐƌĞƵƉĚĂƚĞŽŶůĞƌĞ͕ĨŽƌǁĂƌĚǁŝƚŚĐŽŵŵĞŶƚƐƚŽĐůŝĞŶƚĂŶĚĂǀŝĚDĞĂĚŽǁƐ Ϭ͘ϯϬ        Ϭ͘ϯϬ      z   Ψϰϴϱ͘ϬϬͬŚƌ   Ψϭϰϱ͘ϱϬ
ϭϬͬϮϵͬϮϬϭϴ   D͘:ŽŶĂƚŚĂŶ,ĂǇĞƐ   ŽƌƌĞƐƉŽŶĚĞŶĐĞ   ǆĐŚĂŶŐĞĞŵĂŝůƐǁŝƚŚ:͘>ƵŬĂƐĂŶĚ<ŝƌŬ'ĂƌďĞĚŝĂŶƌĞĐĂŶĐĞůůĂƚŝŽŶŽĨůĞƌĞĞƐĐƌŽǁ               Ϭ͘ϮϬ   Ϭ͘ϮϬ      z   Ψϰϴϱ͘ϬϬͬŚƌ   Ψϵϳ͘ϬϬ
ϭϬͬϯϬͬϮϬϭϴ   D͘:ŽŶĂƚŚĂŶ,ĂǇĞƐ   WŚŽŶĞĂůů       dĞůĐŽŶĨǁŝƚŚ<ŝƌŬ'ĂƌďĞĚŝĂŶƌĞŶĞǁ>K/ĂŶĚŝƐƐƵĞƐŝƚĐƌĞĂƚĞƐ                                  Ϭ͘ϯϬ   Ϭ͘ϯϬ      z   Ψϰϴϱ͘ϬϬͬŚƌ   Ψϭϰϱ͘ϱϬ
ϭϬͬϯϬͬϮϬϭϴ   D͘:ŽŶĂƚŚĂŶ,ĂǇĞƐ   ZĞǀŝĞǁ           ZĞǀŝĞǁŶĞǁ>K/ĨŽƌ^ĂŶƚĂ&ĞƉƌŽƉĞƌƚǇ                                                           Ϭ͘ϯϬ   Ϭ͘ϯϬ      z   Ψϰϴϱ͘ϬϬͬŚƌ   Ψϭϰϱ͘ϱϬ
ϭϬͬϯϬͬϮϬϭϴ   D͘:ŽŶĂƚŚĂŶ,ĂǇĞƐ   ŽƌƌĞƐƉŽŶĚĞŶĐĞ   ŵĂŝůƚŽDƌ͘ǇƵŶƌĞŶĞǁ>K/ĂŶĚŝƐƐƵĞƐŝƚĐƌĞĂƚĞƐ                                             Ϭ͘ϮϬ   Ϭ͘ϮϬ      z   Ψϰϴϱ͘ϬϬͬŚƌ   Ψϵϳ͘ϬϬ
ϭϬͬϯϭͬϮϬϭϴ   D͘:ŽŶĂƚŚĂŶ,ĂǇĞƐ   WŚŽŶĞĂůů       dĞůĐŽŶĨǁŝƚŚ<ŝƌŬƌĞůĞƌĞΖƐƌĞƋƵŝƌĞŵĞŶƚƐƌĞĐĂŶĐĞůůŝŶŐĞƐĐƌŽǁ                                Ϭ͘ϮϬ   Ϭ͘ϮϬ      z   Ψϰϴϱ͘ϬϬͬŚƌ   Ψϵϳ͘ϬϬ
                                                                                                                                                                                                                      Case 2:18-bk-19004-VZ




ϭϬͬϯϭͬϮϬϭϴ   D͘:ŽŶĂƚŚĂŶ,ĂǇĞƐ   ŽƌƌĞƐƉŽŶĚĞŶĐĞ   ŵĂŝůƐďĂĐŬĂŶĚĨŽƌƚŚǁŝƚŚ>ƵŬĂƐƌĞůĞƌĞΖƐƌĞƋƵŝƌĞŵĞŶƚƐƌĞĐĂŶĐĞůůŝŶŐĞƐĐƌŽǁ͕ĨŽƌǁĂƌĚƚŽĐůŝĞŶϬ͘ϯϬ   Ϭ͘ϯϬ      z   Ψϰϴϱ͘ϬϬͬŚƌ   Ψϭϰϱ͘ϱϬ
ϭϭͬϬϭͬϮϬϭϴ   D͘:ŽŶĂƚŚĂŶ,ĂǇĞƐ   DĞĞƚŝŶŐ          ŽŶĨǁŝƚŚ<ŝƌŬ'ĂƌĂďĞĚŝĂŶĂŶĚDƌ͘ǇƵŶƌĞŽĨĨĞƌĨŽƌ^ĂŶƚĂ&ĞĨƌŽŵƵŬĞZĞĂůƚǇ                  ϭ͘ϳϬ   ϭ͘ϳϬ      z   Ψϰϴϱ͘ϬϬͬŚƌ   ΨϴϮϰ͘ϱϬ
ϭϭͬϬϰͬϮϬϭϴ   D͘:ŽŶĂƚŚĂŶ,ĂǇĞƐ   WŚŽŶĞĂůů       dĞůĐŽŶĨǁŝƚŚ<ŝƌŬƌĞDĞĂĚŽǁƐĚĞŵĂŶĚĨŽƌĞŵĂŝůƐ                                                Ϭ͘ϮϬ   Ϭ͘ϮϬ      z   Ψϰϴϱ͘ϬϬͬŚƌ   Ψϵϳ͘ϬϬ
ϭϭͬϬϱͬϮϬϭϴ   D͘:ŽŶĂƚŚĂŶ,ĂǇĞƐ   ŽƌƌĞƐƉŽŶĚĞŶĐĞ   ZĞƐƉŽŶĚƚŽDĞĂĚŽǁƐĞŵĂŝůƌĞŚŝƐĚĞŵĂŶĚĨŽƌĞŵĂŝůƐĨƌŽŵ<ŝƌŬƚŽĂŶĚĨƌŽŵǇƵŶ                   Ϭ͘ϮϬ   Ϭ͘ϮϬ      z   Ψϰϴϱ͘ϬϬͬŚƌ   Ψϵϳ͘ϬϬ
ϭϭͬϬϲͬϮϬϭϴ   D͘:ŽŶĂƚŚĂŶ,ĂǇĞƐ   WŚŽŶĞĂůů       dĞůĐŽŶĨǁŝƚŚDƌ͘ĂŐŐĞŶŚƵƌƚƌĞĐĂƐĞŚĞŝƐŚĂŶĚůŝŶŐĨŽƌDƌ͘ǇƵŶŝŶƐƚĂƚĞĐŽƵƌƚ                Ϭ͘ϯϬ   Ϭ͘ϯϬ      z   Ψϰϴϱ͘ϬϬͬŚƌ   Ψϭϰϱ͘ϱϬ
ϭϭͬϬϲͬϮϬϭϴ   D͘:ŽŶĂƚŚĂŶ,ĂǇĞƐ   WŚŽŶĞĂůů       dĞůĐŽŶĨǁŝƚŚdŝŵĨƌŽŵĞƌŬƐŚŝƌĞ,ĂƚŚĂǁĂǇ͕ďƌŽŬĞƌŝŶƚĞƌĞƐƚĞĚŝŶ^ĂŶƚĂ&ĞƉƌŽƉͲŚĂĚƋƵĞƐƚŝŽŶƐϬ͘ϰϬ     Ϭ͘ϰϬ      z   Ψϰϴϱ͘ϬϬͬŚƌ   Ψϭϵϰ͘ϬϬ
ϭϭͬϬϲͬϮϬϭϴ   D͘:ŽŶĂƚŚĂŶ,ĂǇĞƐ   ŽƌƌĞƐƉŽŶĚĞŶĐĞ   ŵĂŝůŵĞŵŽ;ůĞŶŐƚŚǇͿƚŽĐůŝĞŶƚƌĞǁŚĞƌĞŚĞƐƚĂŶĚƐǁŝƚŚƚŚĞŶĞǁŽĨĨĞƌĂŶĚƚŚĞƉŽƐƐŝďŝůŝƚǇƚŚĂƚƚϬ͘ϴϬ   Ϭ͘ϴϬ      z   Ψϰϴϱ͘ϬϬͬŚƌ   Ψϯϴϴ͘ϬϬ
ϭϭͬϬϲͬϮϬϭϴ   D͘:ŽŶĂƚŚĂŶ,ĂǇĞƐ   ŽƌƌĞƐƉŽŶĚĞŶĐĞ   ŵĂŝůƚŽůůĞŶWĂƌŬWǁŝƚŚƋƵĞƐƚŝŽŶƐƌĞƚĂǆĐŽŶƐĞƋƵĞŶĐĞƐŽĨƐĂůĞŽĨ^ĂŶƚĂ&ĞWƌŽƉĞƌƚǇ        Ϭ͘ϮϬ   Ϭ͘ϮϬ      z   Ψϰϴϱ͘ϬϬͬŚƌ   Ψϵϳ͘ϬϬ
ϭϭͬϬϳͬϮϬϭϴ   D͘:ŽŶĂƚŚĂŶ,ĂǇĞƐ   WŚŽŶĞĂůů       dĞůĐŽŶĨǁŝƚŚ<ŝƌŬƌĞŚŝƐŝĚĞĂƐŽŶĐŽƵŶƚĞƌŽĨĨĞƌŝŶŐĂŶĚǁŚĂƚƚŚĞĐŽƵŶƚĞƌ>K/ƐŚŽƵůĚƐĂǇ        Ϭ͘ϯϬ   Ϭ͘ϯϬ      z   Ψϰϴϱ͘ϬϬͬŚƌ   Ψϭϰϱ͘ϱϬ
                                                                                                                                                                                              Main Document




ϭϭͬϬϳͬϮϬϭϴ   D͘:ŽŶĂƚŚĂŶ,ĂǇĞƐ   ZĞǀŝĞǁ           ZĞǀŝĞǁƋƵŝĐŬůǇŶĞǁ>K/ĨƌŽŵ<ŝƌŬͲΨϭϴŵŝůůŝŽŶ                                                 Ϭ͘ϮϬ   Ϭ͘ϮϬ      z   Ψϰϴϱ͘ϬϬͬŚƌ   Ψϵϳ͘ϬϬ
ϭϭͬϬϴͬϮϬϭϴ   D͘:ŽŶĂƚŚĂŶ,ĂǇĞƐ   WŚŽŶĞĂůů       dĞůĐŽŶĨǁŝƚŚ<ŝƌŬ'͘ƌĞĐŽƵŶƚĞƌ>K/                                                           Ϭ͘ϮϬ   Ϭ͘ϮϬ      z   Ψϰϴϱ͘ϬϬͬŚƌ   Ψϵϳ͘ϬϬ
ϭϭͬϬϴͬϮϬϭϴ   D͘:ŽŶĂƚŚĂŶ,ĂǇĞƐ   ZĞǀŝĞǁ           ZĞǀŝĞǁĂŶĚƌĞǀŝƐĞĐŽƵŶƚĞƌ>K/͕ĞǆƚĞŶƐŝǀĞĐŚĂŶŐĞƐ                                               Ϭ͘ϳϬ   Ϭ͘ϳϬ      z   Ψϰϴϱ͘ϬϬͬŚƌ   Ψϯϯϵ͘ϱϬ
ϭϭͬϬϴͬϮϬϭϴ   D͘:ŽŶĂƚŚĂŶ,ĂǇĞƐ   WŚŽŶĞĂůů       dĞůĐŽŶĨǁŝƚŚůůĞŶWĂƌŬ͕WƌĞƚĂǆĐŽŶƐĞƋƵĞŶĐĞƐŽĨƐĂůĞŽĨ^ĂŶƚĂ&Ğ                          Ϭ͘ϰϬ   Ϭ͘ϰϬ      z   Ψϰϴϱ͘ϬϬͬŚƌ   Ψϭϵϰ͘ϬϬ
ϭϭͬϬϴͬϮϬϭϴ   D͘:ŽŶĂƚŚĂŶ,ĂǇĞƐ   ZĞǀŝĞǁ           ZĞǀŝĞǁĐŽƵŶƚĞƌ>K/ĨƌŽŵ<ŝƌŬ'͕͘ƐŚŽƌƚĐŽŵŵĞŶƚƐƚŽŚŝŵƌĞƐĂŵĞ                                 Ϭ͘ϰϬ   Ϭ͘ϰϬ      z   Ψϰϴϱ͘ϬϬͬŚƌ   Ψϭϵϰ͘ϬϬ
ϭϭͬϭϰͬϮϬϭϴ   D͘:ŽŶĂƚŚĂŶ,ĂǇĞƐ   WŚŽŶĞĂůů       dĞůĐŽŶĨǁŝƚŚ<ŝƌŬƌĞƐƚĂƚƵƐŽĨŽĨĨĞƌƐ                                                         Ϭ͘ϯϬ   Ϭ͘ϯϬ      z   Ψϰϴϱ͘ϬϬͬŚƌ   Ψϭϰϱ͘ϱϬ
ϭϭͬϭϵͬϮϬϭϴ   D͘:ŽŶĂƚŚĂŶ,ĂǇĞƐ   WŚŽŶĞĂůů       dĞůĐŽŶĨǁŝƚŚǀĂŶ:ŽŶĞƐƌĞůĂƚĞƐƚŽĨĨĞƌƐĨŽƌ^ĂŶƚĂ&ĞĂŶĚƐƚƌĂƚĞŐǇ                            Ϭ͘ϯϬ   Ϭ͘ϯϬ      z   Ψϰϴϱ͘ϬϬͬŚƌ   Ψϭϰϱ͘ϱϬ
ϭϭͬϭϵͬϮϬϭϴ   D͘:ŽŶĂƚŚĂŶ,ĂǇĞƐ   DĞĞƚŝŶŐ          ŽŶĨǁŝƚŚĐůŝĞŶƚĚŽǁŶƚŽǁŶƚŽĚŝƐĐƵƐƐůĂƚĞƐƚŽĨĨĞƌƐĨŽƌ^ĂŶƚĂ&ĞĂŶĚƐƚƌĂƚĞŐǇ                   ϭ͘ϯϬ   ϭ͘ϯϬ      z   Ψϰϴϱ͘ϬϬͬŚƌ   ΨϲϯϬ͘ϱϬ
ϭϭͬϮϬͬϮϬϭϴ   D͘:ŽŶĂƚŚĂŶ,ĂǇĞƐ   WŚŽŶĞĂůů       dĞůĐŽŶĨǁŝƚŚ<ŝƌŬƌĞƐƚĂƚƵƐŽĨĐŽƵŶƚĞƌŽĨĨĞƌƐĂŶĚƉƌŽďůĞŵƐǁŝƚŚƉƌŽƉĞƌƚǇ                      Ϭ͘ϯϬ   Ϭ͘ϯϬ      z   Ψϰϴϱ͘ϬϬͬŚƌ   Ψϭϰϱ͘ϱϬ
                                                                                                                                                                                                               Page 24 of 31




ϭϭͬϮϬͬϮϬϭϴ   D͘:ŽŶĂƚŚĂŶ,ĂǇĞƐ   ZĞǀŝĞǁ           ZĞǀŝĞǁĐŽƵŶƚĞƌŽĨĨĞƌĨƌŽŵEŽƌƚŚWĂůŝƐĂĚĞƐ                                                      Ϭ͘ϯϬ   Ϭ͘ϯϬ      z   Ψϰϴϱ͘ϬϬͬŚƌ   Ψϭϰϱ͘ϱϬ
ϭϭͬϮϲͬϮϬϭϴ   D͘:ŽŶĂƚŚĂŶ,ĂǇĞƐ   WŚŽŶĞĂůů       dĞůĐŽŶĨǁŝƚŚ<ŝƌŬ'ƌĞƐƚĂƚƵƐŽĨƐĂůĞƐĞĨĨŽƌƚƐ                                                Ϭ͘ϯϬ   Ϭ͘ϯϬ      z   Ψϰϴϱ͘ϬϬͬŚƌ   Ψϭϰϱ͘ϱϬ
ϭϭͬϮϲͬϮϬϭϴ   D͘:ŽŶĂƚŚĂŶ,ĂǇĞƐ   ZĞƐĞĂƌĐŚ         ZĞƐĞĂƌĐŚƌĞŚŽǁ:ƵĚŐĞsĚĞĂůƐǁŝƚŚďƌĞĂŬƵƉĨĞĞŝƐƐƵĞƐ                                        Ϭ͘ϴϬ   Ϭ͘ϴϬ      z   Ψϰϴϱ͘ϬϬͬŚƌ   Ψϯϴϴ͘ϬϬ
ϭϭͬϮϳͬϮϬϭϴ   D͘:ŽŶĂƚŚĂŶ,ĂǇĞƐ   WŚŽŶĞĂůů       dĞůĐŽŶĨǁŝƚŚĂǀŝĚDĞĂĚŽǁƐƌĞƐƚĂƚƵƐĂŶĚǀĂƌŝŽƵƐŽƚŚĞƌŝƐƐƵĞƐŝŶĐůƵĚŝŶŐƚŚĞϮϬϬϰĞǆĂŵ         Ϭ͘ϴϬ   Ϭ͘ϴϬ      z   Ψϰϴϱ͘ϬϬͬŚƌ   Ψϯϴϴ͘ϬϬ
ϭϭͬϮϴͬϮϬϭϴ   D͘:ŽŶĂƚŚĂŶ,ĂǇĞƐ   ŽƌƌĞƐƉŽŶĚĞŶĐĞ   ŵĂŝůƚŽĐůŝĞŶƚƌĞŶĞĞĚƚŽŵĞĞƚĂŶĚĂůƚĞƌŶĂƚŝǀĞƐŽŶŚŽǁƚŽĚĞĂůǁŝƚŚ,ǇƵŶĚĂĂŶĚ^ĂŶƚĂ&Ğ       Ϭ͘ϰϬ   Ϭ͘ϰϬ      z   Ψϰϴϱ͘ϬϬͬŚƌ   Ψϭϵϰ͘ϬϬ
ϭϭͬϮϵͬϮϬϭϴ   D͘:ŽŶĂƚŚĂŶ,ĂǇĞƐ   DĞĞƚŝŶŐ          ŽŶĨǁŝƚŚDƌ͘ǇƵŶƌĞƉƌĞƐĞŶƚƐƚĂƚƵƐŽĨƚŚĞŽĨĨĞƌƐǁĞŚĂǀĞƌĞĐĞŝǀĞĚĨŽƌ^ĂŶƚĂ&Ğ͘
                                                   ŽŶĨǁŝƚŚDƌ͘ǇƵŶƌĞƉƌĞƐĞŶƚƐƚĂƚƵƐŽĨƚŚĞŽĨĨĞƌƐǁĞŚĂǀĞƌĞĐĞŝǀĞĚĨŽƌ^ĂŶƚĂ&Ğ͘             ϭ͘ϱϬ   ϭ͘ϱϬ      z   Ψϰϴϱ͘ϬϬͬŚƌ   ΨϳϮϳ͘ϱϬ
ϭϭͬϮϵͬϮϬϭϴ   D͘:ŽŶĂƚŚĂŶ,ĂǇĞƐ   ZĞǀŝĞǁ           ZĞǀŝĞǁŽĨĨĞƌƐǁĞŚĂǀĞƌĞĐĞŝǀĞĚĨŽƌ^ĂŶƚĂ&ĞďĞĨŽƌĞŵĞĞƚŝŶŐǁŝƚŚĐůŝĞŶƚĚŽǁŶƚŽǁŶ͘
                                                   ZĞǀŝĞǁŽĨĨĞƌƐǁĞŚĂǀĞƌĞĐĞŝǀĞĚĨŽƌ^ĂŶƚĂ&ĞďĞĨŽƌĞŵĞĞƚŝŶŐǁŝƚŚĐůŝĞŶƚĚŽǁŶƚŽǁŶ͘               Ϭ͘ϳϬ   Ϭ͘ϳϬ      z   Ψϰϴϱ͘ϬϬͬŚƌ   Ψϯϯϵ͘ϱϬ
ϭϭͬϮϵͬϮϬϭϴ   D͘:ŽŶĂƚŚĂŶ,ĂǇĞƐ   WŚŽŶĞĂůů       dĞůĐŽŶĨǁŝƚŚDŝŬĞ^ŽŶŐƌĞƐƚĂƚƵƐŽĨŽĨĨĞƌƐƚŽďƵǇ^ĂŶƚĂ&Ğ                                    Ϭ͘ϯϬ   Ϭ͘ϯϬ      z   Ψϰϴϱ͘ϬϬͬŚƌ   Ψϭϰϱ͘ϱϬ
ϭϭͬϯϬͬϮϬϭϴ   D͘:ŽŶĂƚŚĂŶ,ĂǇĞƐ   WŚŽŶĞĂůů       dĞůĐŽŶĨǁŝƚŚ<ŝƌŬĨŽƌƵƉĚĂƚĞŽŶŵǇŵĞĞƚŝŶŐǁŝƚŚDƌ͘ǇƵŶĂŶĚǁŚĞƌĞǁĞƐƚĂŶĚǁŝƚŚƚŚĞƐĂůĞ Ϭ͘ϯϬ       Ϭ͘ϯϬ      z   Ψϰϴϱ͘ϬϬͬŚƌ   Ψϭϰϱ͘ϱϬ
                                                                                                                                                                                              Doc 79 Filed 02/04/19 Entered 02/04/19 11:18:21




ϭϭͬϯϬͬϮϬϭϴ   D͘:ŽŶĂƚŚĂŶ,ĂǇĞƐ   ŽƌƌĞƐƉŽŶĚĞŶĐĞ   ŵĂŝůƚŽǀĂŶ:ŽŶĞƐĂŶĚĂǀĞDĞĂĚŽǁƐǁŝƚŚĂƐƚĂƚƵƐƌĞƉŽƌƚƌĞǁŚĞƌĞǁĞĂƌĞǁŝƚŚƚŚĞƐĂůĞŽĨ^Ϭ͘ϱϬ      Ϭ͘ϱϬ      z   Ψϰϴϱ͘ϬϬͬŚƌ   ΨϮϰϮ͘ϱϬ
ϭϮͬϬϯͬϮϬϭϴ   D͘:ŽŶĂƚŚĂŶ,ĂǇĞƐ   WŚŽŶĞĂůů       dĞůĐŽŶĨǁŝƚŚ<ŝƌŬƌĞƐƚĂƚƵƐŽĨŶĞŐŽƚŝĂƚŝŽŶƐǁŝƚŚ:ŽĞͲƚŚĞΨϭϴ͘ϴŽĨĨĞƌĞĞ                      Ϭ͘ϰϬ   Ϭ͘ϰϬ      z   Ψϰϴϱ͘ϬϬͬŚƌ   Ψϭϵϰ͘ϬϬ
ϭϮͬϬϯͬϮϬϭϴ   D͘:ŽŶĂƚŚĂŶ,ĂǇĞƐ   ŽƌƌĞƐƉŽŶĚĞŶĐĞ   ŵĂŝůƐĐŚĞĚƵůĞƐĂŶĚƐƚĂƚƵƐƌĞƉŽƌƚƐĞƚĐƚŽDŝĐŚĂĞů^ŽŶŐĂƚŚŝƐƌĞƋƵĞƐƚ                          Ϭ͘ϮϬ   Ϭ͘ϮϬ      z   Ψϰϴϱ͘ϬϬͬŚƌ   Ψϵϳ͘ϬϬ
ϭϮͬϬϯͬϮϬϭϴ   D͘:ŽŶĂƚŚĂŶ,ĂǇĞƐ   ŽƌƌĞƐƉŽŶĚĞŶĐĞ   ŵĂŝůƚŽ<ŝƌŬǁŝƚŚĐŽƉǇŽĨsƉƌŽĐĞĚƵƌĞƐĨŽƌƐĂůĞƐŽĨƉƌŽƉĞƌƚǇ                                 Ϭ͘ϭϬ   Ϭ͘ϭϬ      z   Ψϰϴϱ͘ϬϬͬŚƌ   Ψϰϴ͘ϱϬ
                                                                                                                                                                                                                      Desc




ϭϮͬϬϯͬϮϬϭϴ   D͘:ŽŶĂƚŚĂŶ,ĂǇĞƐ   ŽƌƌĞƐƉŽŶĚĞŶĐĞ   ŵĂŝůƚŽDŝĐŚĂĞů^ŽŶŐĂŶĚĐůŝĞŶƚƌĞĞŵƉůŽǇŵĞŶƚŽĨ^ŽŶŐ                                         Ϭ͘ϭϬ   Ϭ͘ϭϬ      z   Ψϰϴϱ͘ϬϬͬŚƌ   Ψϰϴ͘ϱϬ
ϭϮͬϬϯͬϮϬϭϴ   D͘:ŽŶĂƚŚĂŶ,ĂǇĞƐ   ŽƌƌĞƐƉŽŶĚĞŶĐĞ   ŵĂŝůƚŽǀĂŶ:ŽŶĞƐĂŶĚĂǀĞDĞĂĚŽǁƐŐŝǀŝŶŐƚŚĞŵƚŚĞĚĞƚĂŝůƐŽĨƚŚĞ>K/ĨƌŽŵ:ŽĞDŝƐŚƵƌĚŝ͕ĂϬ͘ϳϬ      Ϭ͘ϳϬ      z   Ψϰϴϱ͘ϬϬͬŚƌ   Ψϯϯϵ͘ϱϬ
                                      Case 2:18-bk-19004-VZ                   Doc 76 Filed 02/01/19 Entered 02/01/19 18:07:08                                       Desc
                                                                              Main Document     Page 21 of 61

ϭϮͬϬϱͬϮϬϭϴ   D͘:ŽŶĂƚŚĂŶ,ĂǇĞƐ    ŽƌƌĞƐƉŽŶĚĞŶĐĞ     ŵĂŝůƐƚŽ,ǇƵŶĚĂŝĞƚĂůƌĞĐŚŽŽƐŝŶŐĂŶĞŶǀŝƌŽŶŵĞŶƚĂůĞŶŐŝŶĞĞƌƚŽĚŽƚŚĞWŚĂƐĞ//͕ĞŵĂŝůƚŽ<ŝƌŬϬ͘ϰϬ    Ϭ͘ϰϬ      z   Ψϰϴϱ͘ϬϬͬŚƌ   Ψϭϵϰ͘ϬϬ
ϭϮͬϬϱͬϮϬϭϴ   D͘:ŽŶĂƚŚĂŶ,ĂǇĞƐ    ŽƌƌĞƐƉŽŶĚĞŶĐĞ     ŵĂŝůĂŐĞŶĚĂƚŽDƌ͘ǇƵŶĂŶĚ^ŽŶŐƌĞŵĞĞƚŝŶŐƚŽŵŽƌƌŽǁ                                           Ϭ͘ϯϬ   Ϭ͘ϯϬ      z   Ψϰϴϱ͘ϬϬͬŚƌ   Ψϭϰϱ͘ϱϬ
ϭϮͬϬϱͬϮϬϭϴ   D͘:ŽŶĂƚŚĂŶ,ĂǇĞƐ    ŽƌƌĞƐƉŽŶĚĞŶĐĞ     ZĞǀŝĞǁůĞŶŐƚŚǇĞŵĂŝůĂŶĚƐĞŶĚůĞŶŐƚŚǇƌĞƐƉŽŶƐĞƚŽ͘WĂƚƌŝĐŬǁŝƚŚ,ǇƵŶĚĂŝΖƐŝƐƐƵĞƐĂŶĚĐŽŵŵϬ͘ϳϬ        Ϭ͘ϳϬ      z   Ψϰϴϱ͘ϬϬͬŚƌ   Ψϯϯϵ͘ϱϬ
ϭϮͬϬϲͬϮϬϭϴ   D͘:ŽŶĂƚŚĂŶ,ĂǇĞƐ    DĞĞƚŝŶŐ            ŽŶĨǁŝƚŚDŝĐŚĂĞů^ŽŶŐƌĞŐĞƚƚŝŶŐŚŝŵƵƉƚŽĚĂƚĞŽŶŝƐƐƵĞƐǁŝƚŚƐĞůůŝŶŐƚŚĞƉƌŽƉĞƌƚŝĞƐĂŶĚƚŚĞϭ͘ϱϬ    ϭ͘ϱϬ      z   Ψϰϴϱ͘ϬϬͬŚƌ   ΨϳϮϳ͘ϱϬ
ϭϮͬϬϲͬϮϬϭϴ   D͘:ŽŶĂƚŚĂŶ,ĂǇĞƐ    WŚŽŶĞĂůů         dĞůĐŽŶĨǁŝƚŚ<ŝƌŬƌĞŵĞĞƚŝŶŐǁŝƚŚDƌ͘ǇƵŶ͕ŚŝƐĂŐƌĞĞŵĞŶƚƚŽĚŽƚŚĞWŚĂƐĞ//͕ĂŶĚŶĞŐŽƚŝĂƚŝŶŐϬ͘ϰϬ    Ϭ͘ϰϬ      z   Ψϰϴϱ͘ϬϬͬŚƌ   Ψϭϵϰ͘ϬϬ
ϭϮͬϬϲͬϮϬϭϴ   D͘:ŽŶĂƚŚĂŶ,ĂǇĞƐ    ŽƌƌĞƐƉŽŶĚĞŶĐĞ     ŵĂŝůƚŽDƌ͘^ŵĂůƐƚŝŐ͕ĞŶǀŝƌŽŶŵĞŶƚĂůĞŶŐŝŶĞĞƌƌĞƉŽƐƐŝďůǇŚŝŵĚŽŝŶŐƚŚĞWŚĂƐĞ//͕ĨƌŽǁĂƌĚƚŽĐ Ϭ͘ϯϬ    Ϭ͘ϯϬ      z   Ψϰϴϱ͘ϬϬͬŚƌ   Ψϭϰϱ͘ϱϬ
ϭϮͬϬϲͬϮϬϭϴ   D͘:ŽŶĂƚŚĂŶ,ĂǇĞƐ    ŽƌƌĞƐƉŽŶĚĞŶĐĞ     >ĞŶŐƚŚǇĞŵĂŝůƚŽ͘:ŽŶĞƐ͕͘DĞĂĚŽǁƐĞƚĂůƌĞƌĞƐƵůƚƐŽĨŵĞĞƚŝŶŐǁŝƚŚDƌ͘ǇƵŶĂŶĚĚŝƐĐƵƐƐŝŽŶϬ͘ϳϬ     Ϭ͘ϳϬ      z   Ψϰϴϱ͘ϬϬͬŚƌ   Ψϯϯϵ͘ϱϬ
ϭϮͬϬϲͬϮϬϭϴ   D͘:ŽŶĂƚŚĂŶ,ĂǇĞƐ    ŽƌƌĞƐƉŽŶĚĞŶĐĞ     ŵĂŝůƚŽ<ŝƌŬƐƵŵŵĂƌŝǌŝŶŐŽƵƌĐŽŶǀĞƌƐĂƚŝŽŶĂŶĚǁŚĞƌĞǁĞŐŽĨƌŽŵŚĞƌĞ                            Ϭ͘ϯϬ   Ϭ͘ϯϬ      z   Ψϰϴϱ͘ϬϬͬŚƌ   Ψϭϰϱ͘ϱϬ
ϭϮͬϬϲͬϮϬϭϴ   D͘:ŽŶĂƚŚĂŶ,ĂǇĞƐ    DĞĞƚŝŶŐ            ŽŶĨǁŝƚŚĐůŝĞŶƚĂŶĚDŝĐŚĂĞů^ŽŶŐĚŽǁŶƚŽǁŶƌĞƐĞůůŝŶŐƚŚĞƉƌŽƉĞƌƚŝĞƐ
                                                          ĨǁŝƚŚĐůŝĞŶƚĂŶĚDŝĐŚĂĞů^ŽŶŐĚŽǁŶƚŽǁŶƌĞƐĞůůŝŶŐƚŚĞƉƌŽƉĞƌƚŝĞƐ                           ϭ͘ϱϬ   ϭ͘ϱϬ      z   Ψϰϴϱ͘ϬϬͬŚƌ   ΨϳϮϳ͘ϱϬ
ϭϮͬϬϲͬϮϬϭϴ   D͘:ŽŶĂƚŚĂŶ,ĂǇĞƐ    WŚŽŶĞĂůů         dĞůĐŽŶĨǁŝƚŚ'ƵĂĚĂůƵƉĞĂƚDĂƌǀŝŶΖƐŽĨĨŝĐĞƌĞĚŽŝŶŐƚŚĞWŚĂƐĞ//͕ƚŝŵŝŶŐĞƚĐ                    Ϭ͘ϯϬ   Ϭ͘ϯϬ      z   Ψϰϴϱ͘ϬϬͬŚƌ   Ψϭϰϱ͘ϱϬ
ϭϮͬϭϬͬϮϬϭϴ   D͘:ŽŶĂƚŚĂŶ,ĂǇĞƐ    ŽƌƌĞƐƉŽŶĚĞŶĐĞ     ǆĐŚĂŶŐĞĞŵĂŝůƐǁŝƚŚ<ŝƌŬƌĞƐĂůĞŽĨ^ĂŶƚĂ&Ğ͕ŚŽǁƚŽƌĞƐƉŽŶĚƚŽDŝƐŚƵƌĚĂΖƐĚĞŵĂŶĚƐ             Ϭ͘ϰϬ   Ϭ͘ϰϬ      z   Ψϰϴϱ͘ϬϬͬŚƌ   Ψϭϵϰ͘ϬϬ
ϭϮͬϭϭͬϮϬϭϴ   D͘:ŽŶĂƚŚĂŶ,ĂǇĞƐ    ZĞǀŝĞǁ             ZĞǀŝĞǁW^ĨƌŽŵΘDDĞƚĂůƐ                                                                    Ϭ͘ϰϬ   Ϭ͘ϰϬ      z   Ψϰϴϱ͘ϬϬͬŚƌ   Ψϭϵϰ͘ϬϬ
ϭϮͬϭϭͬϮϬϭϴ   D͘:ŽŶĂƚŚĂŶ,ĂǇĞƐ    WŚŽŶĞĂůů         dĞůĐŽŶĨ;ϮŶĚͿǁŝƚŚ<ŝƌŬƌĞƐĂůĞŽĨϮϰƚŚ^ƚƌĞĞƚ                                                 Ϭ͘ϮϬ   Ϭ͘ϮϬ      z   Ψϰϴϱ͘ϬϬͬŚƌ   Ψϵϳ͘ϬϬ
                                                                                                                                                                                                                            Case 2:18-bk-19004-VZ




ϭϮͬϭϭͬϮϬϭϴ   D͘:ŽŶĂƚŚĂŶ,ĂǇĞƐ    WŚŽŶĞĂůů         dĞůĐŽŶĨǁŝƚŚ<ŝƌŬƌĞƐĂůĞŽĨϮϰƚŚ^ƚƌĞĞƚ                                                       Ϭ͘ϯϬ   Ϭ͘ϯϬ      z   Ψϰϴϱ͘ϬϬͬŚƌ   Ψϭϰϱ͘ϱϬ
ϭϮͬϭϭͬϮϬϭϴ   D͘:ŽŶĂƚŚĂŶ,ĂǇĞƐ    ŽƌƌĞƐƉŽŶĚĞŶĐĞ     ŵĂŝůƚŽDƌ͘ǇƵŶƌĞŶĞĞĚƚŽĂĐĐĞƉƚŽĨĨĞƌŽŶϮϰƚŚ^ƚƌĞĞƚ͕ĨŽƌǁĂƌĚƚŽďƌŽŬĞƌ                     Ϭ͘ϰϬ   Ϭ͘ϰϬ      z   Ψϰϴϱ͘ϬϬͬŚƌ   Ψϭϵϰ͘ϬϬ
ϭϮͬϭϯͬϮϬϭϴ   D͘:ŽŶĂƚŚĂŶ,ĂǇĞƐ    DĞĞƚŝŶŐ            ŽŶĨǁŝƚŚĐůŝĞŶƚ͕DŝĐŚĂĞů^ŽŶŐ͕ĂŶĚ<ŝƌŬƌĞƚĞƌŵƐŽĨƐĂůĞŽĨϮϰƚŚƐƚƌĞĞƚĂŶĚ^ĂŶƚĂ&Ğ           Ϯ͘ϯϬ   Ϯ͘ϯϬ      z   Ψϰϴϱ͘ϬϬͬŚƌ   Ψϭ͕ϭϭϱ͘ϱϬ
ϭϮͬϭϯͬϮϬϭϴ   D͘:ŽŶĂƚŚĂŶ,ĂǇĞƐ    WƌĞƉĂƌĂƚŝŽŶĨŽƌ͗   WƌĞƉĨŽƌŵĞĞƚŝŶŐǁŝƚŚĐůŝĞŶƚ͕ƌĞǀŝĞǁĞŵĂŝůƐďĂĐŬĂŶĚĨŽƌƚŚǁŝƚŚďƌŽŬĞƌƌĞƚĞƌŵƐŽĨĐŽƵŶƚĞƌŽĨĨĞϬ͘ϲϬ    Ϭ͘ϲϬ      z   Ψϰϴϱ͘ϬϬͬŚƌ   ΨϮϵϭ͘ϬϬ
ϭϮͬϭϯͬϮϬϭϴ   D͘:ŽŶĂƚŚĂŶ,ĂǇĞƐ    ŽƌƌĞƐƉŽŶĚĞŶĐĞ     ŵĂŝůƐƚŽĂŶĚĨƌŽŵĂǀĞDĞĂĚŽǁƐĂŶĚǀĂŶ:ŽŶĞƐƌĞƚĞƌŵƐŽĨŽĨĨĞƌƌĞϮϰƚŚƐƚƌĞĞƚ                 Ϭ͘ϰϬ   Ϭ͘ϰϬ      z   Ψϰϴϱ͘ϬϬͬŚƌ   Ψϭϵϰ͘ϬϬ
ϭϮͬϭϳͬϮϬϭϴ   D͘:ŽŶĂƚŚĂŶ,ĂǇĞƐ    WŚŽŶĞĂůů         dĞůĐŽŶĨǁŝƚŚ<ŝƌŬ;ĂŐĞŶƚͿĂŶĚ:ŽĞDŝƐŚƵƌĚĂƌĞ:ŽĞΖƐƋƵĞƐƚŝŽŶƐĂďŽƵƚƚŚĞƉƌŽĐĞƐƐŽĨŐĞƚƚŝŶŐƚŚĞϬ͘ϱϬ
                                                      dĞůĐŽŶĨǁŝƚŚ<ŝƌŬ;ĂŐĞŶƚͿĂŶĚ:ŽĞDŝƐŚƵƌĚĂƌĞ:ŽĞΖƐƋƵĞƐƚŝŽŶƐĂďŽƵƚƚŚĞƉƌŽĐĞƐƐŽĨŐĞƚƚŝŶŐ           Ϭ͘ϱϬ      z   Ψϰϴϱ͘ϬϬͬŚƌ   ΨϮϰϮ͘ϱϬ
ϭϮͬϭϳͬϮϬϭϴ   D͘:ŽŶĂƚŚĂŶ,ĂǇĞƐ    ŽƌƌĞƐƉŽŶĚĞŶĐĞ     ŵĂŝůƚŽ͘:ŽŶĞƐĂŶĚ͘DĞĂĚŽǁƐƌĞƐŝŐŶĞĚ>K/ŽŶƚŚĞ^ĂŶƚĂ&ĞWƌŽƉĞƌƚǇĂŶĚŵǇĐŽŶǀĞƌƐĂƚŝŽŶϬ͘ϰϬ        Ϭ͘ϰϬ      z   Ψϰϴϱ͘ϬϬͬŚƌ   Ψϭϵϰ͘ϬϬ
ϭϮͬϭϳͬϮϬϭϴ   D͘:ŽŶĂƚŚĂŶ,ĂǇĞƐ    ZĞǀŝĞǁ             ZĞǀŝĞǁĐŽƵŶƚĞƌŽĨĨĞƌƚŽŽĨĨĞƌĨŽƌϮϰƚŚ^ƚƌĞĞƚ                                                   Ϭ͘ϮϬ   Ϭ͘ϮϬ      z   Ψϰϴϱ͘ϬϬͬŚƌ   Ψϵϳ͘ϬϬ
ϭϮͬϭϳͬϮϬϭϴ   D͘:ŽŶĂƚŚĂŶ,ĂǇĞƐ    ŽƌƌĞƐƉŽŶĚĞŶĐĞ     ŵĂŝůƚŽ͘:ŽŶĞƐ͕͘DĞĂĚŽǁƐƌĞĐŽƵŶƚĞƌŽĨĨĞƌƚŽŽĨĨĞƌĨŽƌϮϰƚŚ^ƚƌĞĞƚ                         Ϭ͘ϮϬ   Ϭ͘ϮϬ      z   Ψϰϴϱ͘ϬϬͬŚƌ   Ψϵϳ͘ϬϬ
                                                                                                                                                                                                    Main Document




ϭϮͬϭϵͬϮϬϭϴ   D͘:ŽŶĂƚŚĂŶ,ĂǇĞƐ    WŚŽŶĞĂůů         dĞůĐŽŶĨǁŝƚŚ<ŝƌŬƌĞƐƚĂƚƵƐŽĨŽĨĨĞƌŽŶϮϰƚŚ^ƚƌĞĞƚĂŶĚŽĨĨĞƌĨƌŽŵZĞŝĐŚŽŶ^ĂŶƚĂ&Ğ
                                                      dĞůĐŽŶĨǁŝƚŚ<ŝƌŬƌĞƐƚĂƚƵƐŽĨŽĨĨĞƌŽŶϮϰƚŚ^ƚƌĞĞƚĂŶĚ                                       Ϭ͘ϯϬ   Ϭ͘ϯϬ      z   Ψϰϴϱ͘ϬϬͬŚƌ   Ψϭϰϱ͘ϱϬ
ϭϮͬϮϬͬϮϬϭϴ   D͘:ŽŶĂƚŚĂŶ,ĂǇĞƐ    WŚŽŶĞĂůů         dĞůĐŽŶĨǁŝƚŚ<ŝƌŬƌĞĚƌĂĨƚW^ĨƌŽŵDŝƐŚƵƌĚĂ                                                   Ϭ͘ϮϬ   Ϭ͘ϮϬ      z   Ψϰϴϱ͘ϬϬͬŚƌ   Ψϵϳ͘ϬϬ
ϭϮͬϮϬͬϮϬϭϴ   D͘:ŽŶĂƚŚĂŶ,ĂǇĞƐ    ŽƌƌĞƐƉŽŶĚĞŶĐĞ     ŵĂŝůƐƚŽDĞĂĚŽǁƐĂŶĚ͘WĂƚƌŝĐŬƌĞƌĞƋƵĞƐƚƚŽƵƐĞƌĞŶƚƚŽƉĂǇĨŽƌWŚĂƐĞ//ĨŽƌ^ĂŶƚĂ&ĞĂŶĚϮϰϬ͘ϯϬ    Ϭ͘ϯϬ      z   Ψϰϴϱ͘ϬϬͬŚƌ   Ψϭϰϱ͘ϱϬ
ϭϮͬϮϭͬϮϬϭϴ   D͘:ŽŶĂƚŚĂŶ,ĂǇĞƐ    ŽƌƌĞƐƉŽŶĚĞŶĐĞ     ǆĐŚĂŶŐĞĞŵĂŝůƐǁŝƚŚĂƚƚǇƐĨŽƌƐĞĐƵƌĞĚĐƌĞĚŝƚŽƌƐƌĞŝƐƐƵĞƐĂŶĚĐŽŶĨƚŽƌĞǀŝĞǁƚŽŐĞƚŚĞƌ          Ϭ͘ϯϬ   Ϭ͘ϯϬ      z   Ψϰϴϱ͘ϬϬͬŚƌ   Ψϭϰϱ͘ϱϬ
ϭϮͬϮϭͬϮϬϭϴ   D͘:ŽŶĂƚŚĂŶ,ĂǇĞƐ    ŽƌƌĞƐƉŽŶĚĞŶĐĞ     ŵĂŝůƐƚŽDĂƌǀŝŶ^ĂĐŚƐĞƌĞĐĞƌƚĂŝŶƌĞƉƌĞƐĞŶƚĂƚŝŽŶƐŝŶƚŚĞƉƌŽƉŽƐĞĚW^ĨŽƌ^ĂŶƚĂ&Ğ͕ǁĞŶĞĞĚϬ͘ϮϬ      Ϭ͘ϮϬ      z   Ψϰϴϱ͘ϬϬͬŚƌ   Ψϵϳ͘ϬϬ
ϭϮͬϮϭͬϮϬϭϴ   D͘:ŽŶĂƚŚĂŶ,ĂǇĞƐ    ZĞǀŝĞǁ             ZĞǀŝĞǁĚƌĂĨƚW^ĨŽƌ^ĂŶƚĂ&ĞƉƌŽƉĞƌƚǇ;͘ϱͿ͕ĞŵĂŝůƚŽŽƵƌĂŐĞŶƚǁŝƚŚĐŽŵŵĞŶƚƐ;͘ϯͿ
                                                      ZĞǀŝĞǁĚƌĂĨƚW^ĨŽƌ^ĂŶƚĂ&ĞƉƌŽƉĞƌƚǇ;͘ϱͿ͕ĞŵĂŝůƚŽŽƵƌĂŐĞŶƚǁŝƚŚĐŽŵŵĞŶƚƐ;                 Ϭ͘ϴϬ   Ϭ͘ϴϬ      z   Ψϰϴϱ͘ϬϬͬŚƌ   Ψϯϴϴ͘ϬϬ
ϭϮͬϮϭͬϮϬϭϴ   D͘:ŽŶĂƚŚĂŶ,ĂǇĞƐ    ŽƌƌĞƐƉŽŶĚĞŶĐĞ     ŵĂŝůĐŽƉǇŽĨW^ĨŽƌ^ĂŶƚĂ&ĞƉƌŽƉĞƌƚǇƚŽĂƚƚǇƐĨŽƌƐĞĐƵƌĞĚĐƌĞĚŝƚŽƌƐ͕ǁŝƚŚĐŽŵŵĞŶƚƐ           Ϭ͘ϯϬ   Ϭ͘ϯϬ      z   Ψϰϴϱ͘ϬϬͬŚƌ   Ψϭϰϱ͘ϱϬ
ϭϮͬϮϰͬϮϬϭϴ   D͘:ŽŶĂƚŚĂŶ,ĂǇĞƐ    ƌĂĨƚ              ƌĂĨƚDŽƚŝŽŶƚŽƉƉƌŽǀĞŝĚĚŝŶŐWƌŽĐĞĚƵƌĞƐ                                                      ϭ͘ϮϬ   ϭ͘ϮϬ      z   Ψϰϴϱ͘ϬϬͬŚƌ   ΨϱϴϮ͘ϬϬ
ϭϮͬϮϰͬϮϬϭϴ   D͘:ŽŶĂƚŚĂŶ,ĂǇĞƐ    ZĞǀŝĞǁ             ZĞǀŝĞǁĂŶĚƌĞǀŝƐĞĚƌĂĨƚŵŽƚŝŽŶƚŽĂƉƉƌŽǀĞƐĂůĞŽĨ^ĂŶƚĂ&Ğ;ƉƌĞǀŝŽƵƐůǇĚƌĂĨƚĞĚƚŽĂƉƉƌŽǀĞƐĂůĞϭ͘ϳϬ     ϭ͘ϳϬ      z   Ψϰϴϱ͘ϬϬͬŚƌ   ΨϴϮϰ͘ϱϬ
                                                                                                                                                                                                                     Page 25 of 31




ϭϮͬϮϲͬϮϬϭϴ   DĂƚƚŚĞǁ͘ZĞƐŶŝŬ   WŚŽŶĞĂůů         ŽŶĨĐĂůůǁŝƚŚŝŶƚĞƌĞƐƚĞĚƉĂƌƚŝĞƐƌĞůĂƚŝŶŐƚŽƚŚĞƐĂůĞĂŶĚƚƌĞĂƚŵĞŶƚŝƐƐƵĞƐ                     Ϭ͘ϲϬ   Ϭ͘ϲϬ      z   ΨϰϱϬ͘ϬϬͬŚƌ   ΨϮϳϬ͘ϬϬ
ϭϮͬϮϲͬϮϬϭϴ   D͘:ŽŶĂƚŚĂŶ,ĂǇĞƐ    WŚŽŶĞĂůů         ŽŶĨĐĂůůǁŝƚŚ<ŝƌŬƌĞĐŽŶĨĐĂůůǁŝƚŚ͘:ŽŶĞƐĂŶĚ͘WĂƚƌŝĐŬĨŽƌ,ǇƵŶĚĂŝ͕ĂŶĚĂǀĞDĞĂĚŽǁƐƌĞƚϬ͘ϯϬ   Ϭ͘ϯϬ      z   Ψϰϴϱ͘ϬϬͬŚƌ   Ψϭϰϱ͘ϱϬ
ϭϮͬϮϲͬϮϬϭϴ   D͘:ŽŶĂƚŚĂŶ,ĂǇĞƐ    ŽƌƌĞƐƉŽŶĚĞŶĐĞ     ŵĂŝůƚŽĐůŝĞŶƚƌĞĐŽŶĨĐĂůůǁŝƚŚ͘:ŽŶĞƐĂŶĚ͘WĂƚƌŝĐŬĨŽƌ,ǇƵŶĚĂŝ͕ĂŶĚĂǀĞDĞĂĚŽǁƐƌĞƚŚĞŝ Ϭ͘ϱϬ   Ϭ͘ϱϬ      z   Ψϰϴϱ͘ϬϬͬŚƌ   ΨϮϰϮ͘ϱϬ
ϭϮͬϮϲͬϮϬϭϴ   D͘:ŽŶĂƚŚĂŶ,ĂǇĞƐ    WŚŽŶĞĂůů         ŽŶĨĐĂůůǁŝƚŚ͘:ŽŶĞƐĂŶĚ͘WĂƚƌŝĐŬĨŽƌ,ǇƵŶĚĂŝ͕ĂŶĚĂǀĞDĞĂĚŽǁƐƌĞƚŚĞŝƌŝƐƐƵĞƐǁŝƚŚƚŚĞD Ϭ͘ϴϬ   Ϭ͘ϴϬ      z   Ψϰϴϱ͘ϬϬͬŚƌ   Ψϯϴϴ͘ϬϬ
ϭϮͬϮϳͬϮϬϭϴ   WĂƌĚŝƐŬŚĂǀĂŶ       ƌĂĨƚ              ƌĂĨƚĞĚƚŚĞĂĚǀĞƌƐĂƌǇ^ƵŵŵŽŶƐŽĨƚŚĞĐŽŵƉůĂŝŶƚƚŽƐĞůů^ĂŶƚĂ&ĞƉƌŽƉĞƌƚǇĨƌĞĞĂŶĚĐůĞĂƌŽĨŝŶƚϬ͘ϮϬ
                                                      ƌĂĨƚĞĚƚŚĞĂĚǀĞƌƐĂƌǇ^ƵŵŵŽŶƐŽĨƚŚĞĐŽŵƉůĂŝŶƚƚŽƐĞůů^ĂŶƚĂ&ĞƉƌŽƉĞƌƚǇĨƌĞĞĂŶĚĐůĞĂƌ               Ϭ͘ϮϬ      z   Ψϭϴϱ͘ϬϬͬŚƌ   Ψϯϳ͘ϬϬ
ϭϮͬϮϳͬϮϬϭϴ   WĂƌĚŝƐŬŚĂǀĂŶ       ƌĂĨƚ              ƌĂĨƚĞĚƚŚĞĂĚǀĞƌƐĂƌǇĐŽǀĞƌƐŚĞĞƚƌĞĐŽŵƉůĂŝŶƚĨŽƌƐĞůůŽĨ^ĂŶƚĂ&ĞƉƌŽƉĞƌƚǇĐůĞĂƌĂŶĚĨƌĞĞŽĨŝŶϬ͘ϰϬ   Ϭ͘ϰϬ      z   Ψϭϴϱ͘ϬϬͬŚƌ   Ψϳϰ͘ϬϬ
ϭϮͬϮϳͬϮϬϭϴ   WĂƌĚŝƐŬŚĂǀĂŶ       ƌĂĨƚ              ƌĂĨƚĞĚƚŚĞĐŽŵƉůĂŝŶƚƚŽƐĞůů^ĂŶƚĂ&ĞƉƌŽƉĞƌƚǇĨƌĞĞĂŶĚĐůĞĂƌŽĨŝŶƚĞƌĞƐƚ͘
                                                      ƌĂĨƚĞĚƚŚĞĐŽŵƉůĂŝŶƚƚŽƐĞůů^ĂŶƚĂ&ĞƉƌŽƉĞƌƚǇĨƌĞĞĂŶĚĐůĞĂƌŽĨŝŶƚĞƌĞƐƚ͘                     Ϭ͘ϴϬ   Ϭ͘ϴϬ      z   Ψϭϴϱ͘ϬϬͬŚƌ   Ψϭϰϴ͘ϬϬ
ϭϮͬϮϳͬϮϬϭϴ   D͘:ŽŶĂƚŚĂŶ,ĂǇĞƐ    ƌĂĨƚ              ƌĂĨƚ^ƚŝƉƵůĂƚŝŽŶǁŝƚŚůĞƌĞƚŽƚĞƌŵŝŶĂƚĞĞƐĐƌŽǁ;͘ϳͿ͕ĞŵĂŝůƚŽ:ŝŵ>ƵŬĂƐǁŝƚŚĐŽŵŵĞŶƚƐ;͘ϭͿ Ϭ͘ϴϬ      Ϭ͘ϴϬ      z   Ψϰϴϱ͘ϬϬͬŚƌ   Ψϯϴϴ͘ϬϬ
ϭϮͬϮϳͬϮϬϭϴ   D͘:ŽŶĂƚŚĂŶ,ĂǇĞƐ    ZĞǀŝĞǁ             ZĞǀŝĞǁĂŶĚƌĞǀŝƐĞĐŽŵƉůĂŝŶƚĂŐĂŝŶƐƚDƐ͘ǇƵŶƵŶĚĞƌϯϲϯ;ŚͿ;͘ϴͿ͕ĞŵĂŝůƚŽĐůŝĞŶƚǁŝƚŚĐŽŵŵĞŶƚϬ͘ϵϬ       Ϭ͘ϵϬ      z   Ψϰϴϱ͘ϬϬͬŚƌ   Ψϰϯϲ͘ϱϬ
                                                                                                                                                                                                    Doc 79 Filed 02/04/19 Entered 02/04/19 11:18:21




ϭϮͬϮϳͬϮϬϭϴ   D͘:ŽŶĂƚŚĂŶ,ĂǇĞƐ    ŽƌƌĞƐƉŽŶĚĞŶĐĞ     ŵĂŝůƚŽDƌƐ͘ǇƵŶΖƐĂƚƚǇƌĞŐĞƚƚŝŶŐŚĞƌƚŽƐŝŐŶƚŚĞƌĞƋƵŝƌĞĚĚŽĐƵŵĞŶƚƐƐŽǁĞĚŽŶΖƚŚĂǀĞƚŽƉƌ Ϭ͘ϯϬ    Ϭ͘ϯϬ      z   Ψϰϴϱ͘ϬϬͬŚƌ   Ψϭϰϱ͘ϱϬ
ϭϮͬϮϴͬϮϬϭϴ   D͘:ŽŶĂƚŚĂŶ,ĂǇĞƐ    ZĞǀŝĞǁ             ZĞǀŝĞǁĐĂƌĞĨƵůůǇƚŚĞůĞŶŐƚŚǇƉƌĞůŝŵŝŶĂƌǇƚŝƚůĞƌĞƉŽƌƚĨŽƌ^ĂŶƚĂ&ĞƚŽĚĞƚĞƌŵŝŶĞǁŚĂƚůŝĞŶƐŵƵƐƚϭ͘ϰϬ    ϭ͘ϰϬ      z   Ψϰϴϱ͘ϬϬͬŚƌ   Ψϲϳϵ͘ϬϬ
ϭϮͬϮϴͬϮϬϭϴ   D͘:ŽŶĂƚŚĂŶ,ĂǇĞƐ    ŽƌƌĞƐƉŽŶĚĞŶĐĞ     dǁŽĞŵĂŝůƐƚŽ:ŽĞDŝƐŚƵƌĚĂĂŶĚ<ŝƌŬ'ĂƌďĞĚŝĂŶǁŝƚŚŝŶĨŽĚŝƐĐƵƐƐĞĚŽŶƚŚĞĐŽŶĨĐĂůů              Ϭ͘ϮϬ   Ϭ͘ϮϬ      z   Ψϰϴϱ͘ϬϬͬŚƌ   Ψϵϳ͘ϬϬ
ϭϮͬϮϴͬϮϬϭϴ   D͘:ŽŶĂƚŚĂŶ,ĂǇĞƐ    WŚŽŶĞĂůů         dĞůĐŽŶĨǁŝƚŚ:ŽĞDŝƐŚƵƌĚĂĂŶĚ<ŝƌŬ'ĂƌďĞĚŝĂŶƌĞ^ĂŶƚĂ&ĞWƌŽƉĞƌƚǇĂŶĚŝƐƐƵĞƐƉƌĞƐĞŶƚĞĚďǇĐ Ϭ͘ϳϬ      Ϭ͘ϳϬ      z   Ψϰϴϱ͘ϬϬͬŚƌ   Ψϯϯϵ͘ϱϬ
                                                                                                                                                                                                                            Desc




ϭϮͬϮϴͬϮϬϭϴ   D͘:ŽŶĂƚŚĂŶ,ĂǇĞƐ    ŽƌƌĞƐƉŽŶĚĞŶĐĞ     ŵĂŝůƚŽĂƚƚǇƐĨŽƌƐĞĐƵƌĞĚĐƌĞĚŝƚŽƌƐƌĞŵǇĐŽŶǀĞƌƐĂƚŝŽŶǁŝƚŚďƵǇĞƌĨŽƌ^ĂŶƚĂ&ĞĂŶĚƌĞŵĂŝŶŝŶŐϬ͘ϰϬ     Ϭ͘ϰϬ      z   Ψϰϴϱ͘ϬϬͬŚƌ   Ψϭϵϰ͘ϬϬ
ϬϭͬϬϮͬϮϬϭϵ   D͘:ŽŶĂƚŚĂŶ,ĂǇĞƐ    ŽƌƌĞƐƉŽŶĚĞŶĐĞ     ŵĂŝůƚŽ:ŽĞDŝƐŚƵƌĚĂǁŝƚŚĐŽŵŵĞŶƚƐƌĞƚŚĞW^ĚƌĂĨƚ                                            Ϭ͘ϰϬ   Ϭ͘ϰϬ      z   Ψϰϴϱ͘ϬϬͬŚƌ   Ψϭϵϰ͘ϬϬ
                                        Case 2:18-bk-19004-VZ                 Doc 76 Filed 02/01/19 Entered 02/01/19 18:07:08                                         Desc
                                                                              Main Document     Page 22 of 61

ϬϭͬϬϯͬϮϬϭϵ      D͘:ŽŶĂƚŚĂŶ,ĂǇĞƐ   ŽƌƌĞƐƉŽŶĚĞŶĐĞ   ǆĐŚĂŶŐĞĞŵĂŝůƐǁŝƚŚĐŽƵŶƐĞůĨŽƌůĞƌĞƌĞƐƚŝƉĂŶĚŵŽƚŝŽŶ                                        Ϭ͘ϮϬ    Ϭ͘ϮϬ      z   Ψϰϴϱ͘ϬϬͬŚƌ   Ψϵϳ͘ϬϬ
ϬϭͬϬϯͬϮϬϭϵ      D͘:ŽŶĂƚŚĂŶ,ĂǇĞƐ   ZĞǀŝĞǁ           ZĞǀŝĞǁĐŚĂŶŐĞƐƚŽƐƚŝƉƵůĂƚŝŽŶǁŝƚŚůĞƌĞƌĞĐĂŶĐĞůůĂƚŝŽŶŽĨĞƐĐƌŽǁ͕ŵĂŬĞĂĚĚŝƚŝŽŶĂůĐŚĂŶŐĞƐ Ϭ͘ϮϬ         Ϭ͘ϮϬ      z   Ψϰϴϱ͘ϬϬͬŚƌ   Ψϵϳ͘ϬϬ
ϬϭͬϬϯͬϮϬϭϵ      D͘:ŽŶĂƚŚĂŶ,ĂǇĞƐ   ƌĂĨƚ            ƌĂĨƚŵŽƚŝŽŶƚŽĂƉƉƌŽǀĞƐƚŝƉƵůĂƚŝŽŶǁŝƚŚůĞƌĞƌĞĐĂŶĐĞůůĂƚŝŽŶŽĨĞƐĐƌŽǁ͕ŵĂŝůƚŽĐŽƵŶƐĞůĨŽƌϬ͘ϳϬ     Ϭ͘ϳϬ      z   Ψϰϴϱ͘ϬϬͬŚƌ   Ψϯϯϵ͘ϱϬ
ϬϭͬϬϳͬϮϬϭϵ      D͘:ŽŶĂƚŚĂŶ,ĂǇĞƐ   WŚŽŶĞĂůů       ŽŶĨĐĂůůǁŝƚŚ:ŽĞDŝƐŚƵƌĚĂ͕ďƵǇĞƌĨŽƌ^ĂŶƚĂ&ĞĂŶĚŚŝƐĂƚƚǇ͕ĂŶĚŽƵƌďƌŽŬĞƌ<ŝƌŬƚŽĚŝƐĐƵƐƐŝƐƐƵϬ͘ϲϬ    Ϭ͘ϲϬ      z   Ψϰϴϱ͘ϬϬͬŚƌ   ΨϮϵϭ͘ϬϬ
ϬϭͬϬϳͬϮϬϭϵ      D͘:ŽŶĂƚŚĂŶ,ĂǇĞƐ   ŽƌƌĞƐƉŽŶĚĞŶĐĞ   ŵĂŝůƚŽ͘:ŽŶĞƐĂŶĚ͘DĞĂĚŽǁƐƌĞĐŽŶĨĐĂůůǁŝƚŚ:ŽĞDŝƐŚƵƌĚĂ͕ďƵǇĞƌĨŽƌ^ĂŶƚĂ&ĞĂŶĚŚŝƐĂƚϬ͘ϰϬ       Ϭ͘ϰϬ      z   Ψϰϴϱ͘ϬϬͬŚƌ   Ψϭϵϰ͘ϬϬ
ϬϭͬϬϳͬϮϬϭϵ      D͘:ŽŶĂƚŚĂŶ,ĂǇĞƐ   ZĞǀŝĞǁ           ZĞǀŝĞǁƌĞǀŝƐĞĚW^ĨƌŽŵƌĂŝŐŶĚĞƌƐŽŶ͕ĨŽƌǁĂƌĚƚŽ͘:ŽŶĞƐĂŶĚ͘DĞĂĚŽǁƐǁŝƚŚĐŽŵŵĞŶƚƐϬ͘ϰϬ             Ϭ͘ϰϬ      z   Ψϰϴϱ͘ϬϬͬŚƌ   Ψϭϵϰ͘ϬϬ
ϬϭͬϬϴͬϮϬϭϵ      D͘:ŽŶĂƚŚĂŶ,ĂǇĞƐ   DĞĞƚŝŶŐ          ŽŶĨǁŝƚŚĂǀĞDĞĂĚŽǁƐĂĨƚĞƌĐĂƐŚĐŽůŚĞĂƌŝŶŐƚŽƐƚƌĂƚĞŐŝǌĞŽŶƐĞůůŝŶŐ^ĂŶƚĂ&ĞĂŶĚϮϰƚŚƐƚƌĞĞϬ͘ϴϬ
                                                      ŽŶĨǁŝƚŚĂǀĞDĞĂĚŽǁƐĂĨƚĞƌĐĂƐŚĐŽůŚĞĂƌŝŶŐƚŽƐƚƌĂƚĞŐŝǌĞŽŶƐĞůůŝŶŐ^ĂŶƚĂ&ĞĂŶĚϮϰƚŚƐƚƌĞĞϬ͘         Ϭ͘ϴϬ      z   Ψϰϴϱ͘ϬϬͬŚƌ   Ψϯϴϴ͘ϬϬ
ϬϭͬϬϵͬϮϬϭϵ      D͘:ŽŶĂƚŚĂŶ,ĂǇĞƐ   ZĞǀŝĞǁ           ZĞǀŝĞǁĂŶĚĨŝŶĂůŝǌĞDŽƚŝŽŶƚŽĐůŽƐĞĞƐĐƌŽǁǁŝƚŚůĞƌĞ                                            Ϭ͘ϱϬ    Ϭ͘ϱϬ      z   Ψϰϴϱ͘ϬϬͬŚƌ   ΨϮϰϮ͘ϱϬ
ϬϭͬϭϰͬϮϬϭϵ      D͘:ŽŶĂƚŚĂŶ,ĂǇĞƐ   ZĞǀŝƐĞ           ZĞǀŝĞǁW^ƚŽŝŶĐůƵĚĞ<ŝƌŬΖƐĐŽŵŵĞŶƚƐ;͘ϲͿ͕ĞŵĂŝůƚŽƌĂŝŐŶĚĞƌƐŽŶ;͘ϭͿ                         Ϭ͘ϳϬ    Ϭ͘ϳϬ      z   Ψϰϴϱ͘ϬϬͬŚƌ   Ψϯϯϵ͘ϱϬ
ϬϭͬϭϰͬϮϬϭϵ      D͘:ŽŶĂƚŚĂŶ,ĂǇĞƐ   ŽƌƌĞƐƉŽŶĚĞŶĐĞ   ZĞǀŝĞǁĞŵĂŝůĨƌŽŵŶĚĞƌƐŽŶ͕ĨŽƌǁĂƌĚƌĞǀŝƐĞĚW^ƚŽĐƌĞĚŝƚŽƌĂƚƚǇƐǁŝƚŚĐŽŵŵĞŶƚƐ                  Ϭ͘ϮϬ    Ϭ͘ϮϬ      z   Ψϰϴϱ͘ϬϬͬŚƌ   Ψϵϳ͘ϬϬ
ϬϭͬϭϱͬϮϬϭϵ      D͘:ŽŶĂƚŚĂŶ,ĂǇĞƐ   ZĞǀŝĞǁ           &ƵƌƚŚĞƌĐŚĂŶŐĞƚŽW^ĨŽƌ^ĂŶƚĂ&Ğ;͘ϰͿ͕ĞŵĂŝůƚŽďƵǇĞƌΖƐĂƚƚǇĂŶĚƐĞƉĂƌĂƚĞůǇƚŽƐĞĐƵƌĞĚĐƌĞĚŝƚŽϬ͘ϲϬ     Ϭ͘ϲϬ      z   Ψϰϴϱ͘ϬϬͬŚƌ   ΨϮϵϭ͘ϬϬ
ϬϭͬϭϱͬϮϬϭϵ      D͘:ŽŶĂƚŚĂŶ,ĂǇĞƐ   ŽƌƌĞƐƉŽŶĚĞŶĐĞ   ǆĐŚĂŶŐĞĞŵĂŝůƐƌĞϮϰƚŚ^ƚƌĞĞƚ͕ĂŶĚŵĂŝůŝŶŐŝŶƐƚƌƵĐƚŝŽŶƐĨŽƌĐĂƐŚĐŽů                            Ϭ͘ϮϬ    Ϭ͘ϮϬ      z   Ψϰϴϱ͘ϬϬͬŚƌ   Ψϵϳ͘ϬϬ
ϬϭͬϭϴͬϮϬϭϵ      D͘:ŽŶĂƚŚĂŶ,ĂǇĞƐ   ŽƌƌĞƐƉŽŶĚĞŶĐĞ   ŵĂŝůƚŽƐĞĐƵƌĞĚĐƌĞĚĂƚƚǇƐǁŝƚŚĐŽŵŵĞŶƚƐ͕ƌĞƐƉŽŶĚƚŽƌĞƚƵƌŶĐŽŵŵĞŶƚƐĨƌŽŵ͘WĂƚƌŝĐŬ
                                                      ŵĂŝů                                                                                           Ϭ͘ϰϬ    Ϭ͘ϰϬ      z   Ψϰϴϱ͘ϬϬͬŚƌ   Ψϭϵϰ͘ϬϬ
                                                                                                                                                                                                                            Case 2:18-bk-19004-VZ




ϬϭͬϭϴͬϮϬϭϵ      D͘:ŽŶĂƚŚĂŶ,ĂǇĞƐ   ZĞǀŝĞǁ           ZĞǀŝĞǁĂŶĚƌĞǀŝƐĞďŝĚĚŝŶŐƉƌŽĐĞĚƵƌĞƐŵŽƚŝŽŶĨŽƌ^ĂŶƚĂ&Ğ                                         ϭ͘ϰϬ    ϭ͘ϰϬ      z   Ψϰϴϱ͘ϬϬͬŚƌ   Ψϲϳϵ͘ϬϬ
ϬϭͬϭϴͬϮϬϭϵ      D͘:ŽŶĂƚŚĂŶ,ĂǇĞƐ   ŽƌƌĞƐƉŽŶĚĞŶĐĞ   ŵĂŝůƚŽĂƚƚǇĨŽƌďƵǇĞƌ͕͘ŶĚĞƌƐŽŶǁŝƚŚĐŽŵŵĞŶƚƐ͕ƌĞǀŝĞǁĂŶĚƌĞƐƉŽŶĚƚŽĐŽŵŵĞŶƚƐĨƌŽŵ Ϭ͘ϮϬ            Ϭ͘ϮϬ      z   Ψϰϴϱ͘ϬϬͬŚƌ   Ψϵϳ͘ϬϬ
                                                      ŶĚĞƌƐŽŶĂŶĚDŝƐŚƵƌĚĂ
  dŽƚĂůƐ&Žƌ                                                                                                                                          ϴϱ͘ϬϬ   ϴϱ͘ϬϬ                         ΨϰϬ͕ϳϳϬ͘ϬϬ
ĂƐĞ
ϬϴͬϬϯͬϮϬϭϴ      ZŽƐĂƌŝŽƵďŝĂ        ƌĂĨƚ            ZĞǀŝĞǁĞĚĂŶĚĚƌĂĨƚĞĚ^ĐŚĞĚƵůĞƐǁŝƚŚĂĚĚŝƚŝŽŶĂůŝŶĨŽƌŵĂƚŝŽŶĨŽƌ,ϭϭĨŝůŝŶŐ͘                   ϭ͘ϮϬ     ϭ͘ϮϬ      z   Ψϭϯϱ͘ϬϬͬŚƌ   ΨϭϲϮ͘ϬϬ
ϬϴͬϬϯͬϮϬϭϴ      ZŽƐĂƌŝŽƵďŝĂ        WŚŽŶĞĂůů       ĂůůĞĚĐůŝĞŶƚϰyǁŝƚŚƋƵĞƐƚŝŽŶƐƌĞ^ĐŚĞĚƵůĞƐĂŶĚĐƌĞĚŝƚŽƌƐ͘                                    Ϭ͘ϲϬ     Ϭ͘ϲϬ      z   Ψϭϯϱ͘ϬϬͬŚƌ   Ψϴϭ͘ϬϬ
ϬϴͬϬϯͬϮϬϭϴ      D͘:ŽŶĂƚŚĂŶ,ĂǇĞƐ   ZĞǀŝĞǁ           ZĞǀŝĞǁĂŶĚƌĞǀŝƐĞĚƌĂĨƚƐĐŚĞĚƵůĞƐ                                                               ϭ͘ϴϬ     ϭ͘ϴϬ      z   Ψϰϴϱ͘ϬϬͬŚƌ   Ψϴϳϯ͘ϬϬ
ϬϴͬϬϯͬϮϬϭϴ      D͘:ŽŶĂƚŚĂŶ,ĂǇĞƐ   KƚŚĞƌ            dĞůĐŽŶĨǁŝƚŚĂƌƌĞŶWĂƚƌŝĐŬ͕KΖDĞůǀĂŶǇ͕ƌĞĨŝůŝŶŐĐŚĂƉƚĞƌϭϭƚŽĚĂǇ                             Ϭ͘ϰϬ     Ϭ͘ϰϬ      z   Ψϰϴϱ͘ϬϬͬŚƌ   Ψϭϵϰ͘ϬϬ
                                                                                                                                                                                                    Main Document




ϬϴͬϬϯͬϮϬϭϴ      D͘:ŽŶĂƚŚĂŶ,ĂǇĞƐ   ŽƌƌĞƐƉŽŶĚĞŶĐĞ   ŵĂŝůƚŽůĂƌŬEĞƵŚŽĨĨƚŽŝŶƚƌŽĚƵĐĞŵǇƐĞůĨĂŶĚĂƐŬƋƵĞƐƚŝŽŶƐĂďŽƵƚƉŽƐƐŝďůĞƐĂůĞ                Ϭ͘ϮϬ     Ϭ͘ϮϬ      z   Ψϰϴϱ͘ϬϬͬŚƌ   Ψϵϳ͘ϬϬ
ϬϴͬϬϯͬϮϬϭϴ      D͘:ŽŶĂƚŚĂŶ,ĂǇĞƐ   ŽƌƌĞƐƉŽŶĚĞŶĐĞ   ŵĂŝůƚŽĐůŝĞŶƚƌĞĐŽŶǀĞƌƐĂƚŝŽŶǁŝƚŚKΖDĞůǀĂŶĞǇĂƚƚǇƐ                                           Ϭ͘ϭϬ     Ϭ͘ϭϬ      z   Ψϰϴϱ͘ϬϬͬŚƌ   Ψϰϴ͘ϱϬ
ϬϴͬϬϯͬϮϬϭϴ      D͘:ŽŶĂƚŚĂŶ,ĂǇĞƐ   WŚŽŶĞĂůů       dĞůĐŽŶĨǁŝƚŚĂƚƚǇĨŽƌĞŶƚƌĂůDĞƚĂůǁŚŽŝƐŚĂŶĚůŝŶŐĂǁŽƌŬĞƌΖƐĐŽŵƉĐĂƐĞ͕ĚŝƐĐƵƐƐŝŽŶƌĞǁŚŽ/ Ϭ͘ϮϬ     Ϭ͘ϮϬ      z   Ψϰϴϱ͘ϬϬͬŚƌ   Ψϵϳ͘ϬϬ
                                                      ƌĞƉƌĞƐĞŶƚĂŶĚŚŽǁ/ŵŝŐŚƚŚĞůƉ
ϬϴͬϬϳͬϮϬϭϴ D͘:ŽŶĂƚŚĂŶ,ĂǇĞƐ        ZĞǀŝĞǁ           ZĞǀŝĞǁŽƌĚĞƌƐĞƚƚŝŶŐƐƚĂƚƵƐĐŽŶĨ͕ĞŵĂŝůƚŽĐůŝĞŶƚǁŝƚŚĐŽŵŵĞŶƚƐ                                 Ϭ͘ϮϬ     Ϭ͘ϮϬ      z   Ψϰϴϱ͘ϬϬͬŚƌ   Ψϵϳ͘ϬϬ
ϬϴͬϬϳͬϮϬϭϴ D͘:ŽŶĂƚŚĂŶ,ĂǇĞƐ        ŽƌƌĞƐƉŽŶĚĞŶĐĞ   ǆĐŚĂŶŐĞĞŵĂŝůƐƌĞŝŶƐƵƌĂŶĐĞ͕ƌĞǀŝĞǁĐŽƉŝĞƐŽĨŝŶƐƵƌĂŶĐĞƉƌŽǀŝĚĞĚ                              Ϭ͘ϮϬ     Ϭ͘ϮϬ      z   Ψϰϴϱ͘ϬϬͬŚƌ   Ψϵϳ͘ϬϬ
ϬϴͬϬϴͬϮϬϭϴ D͘:ŽŶĂƚŚĂŶ,ĂǇĞƐ        ŽƌƌĞƐƉŽŶĚĞŶĐĞ   sĞƌǇĚĞƚĂŝůĞĚĞŵĂŝůƚŽĐůŝĞŶƚĂŶĚƐƚĂĨĨƌĞϳĚĂǇƉĂĐŬĂŐĞĂŶĚǁŚĂƚŶĞĞĚƐƚŽŐĞƚĚŽŶĞĨƌŽŵ       Ϭ͘ϱϬ     Ϭ͘ϱϬ      z   Ψϰϴϱ͘ϬϬͬŚƌ   ΨϮϰϮ͘ϱϬ
                                                      ŚĞƌĞ͕ƌĞǀŝĞǁĂŶĚĂƚƚĂĐŚĞǀĂƌŝŽƵƐĚŽĐƐĨƌŽŵh^d
ϬϴͬϭϬͬϮϬϭϴ D͘:ŽŶĂƚŚĂŶ,ĂǇĞƐ        ŽƌƌĞƐƉŽŶĚĞŶĐĞ   ŵĂŝůƚŽĐůŝĞŶƚƌĞŶĞĞĚĨŽƌƚŚĞϳĚĂǇƉĂĐŬĂŐĞ͕ƐƵŵŵĂƌǇŽĨƚŚĞŵŽƐƚŝŵƉŽƌƚĂŶƚŵĂƚƚĞƌƐ           Ϭ͘ϯϬ     Ϭ͘ϯϬ      z   Ψϰϴϱ͘ϬϬͬŚƌ   Ψϭϰϱ͘ϱϬ
                                                                                                                                                                                                                     Page 26 of 31




                                                      ŽƵƚƐƚĂŶĚŝŶŐ
ϬϴͬϭϮͬϮϬϭϴ D͘:ŽŶĂƚŚĂŶ,ĂǇĞƐ        ƌĂĨƚ            ƌĂĨƚ^ƚĂƚĞŵĞŶƚŽĨDĂũŽƌ/ƐƐƵĞƐ;ϭ͘ϳͿ͕ĚƌĂĨƚϵϬĚĂǇďƵĚŐĞƚ;͘ϮͿ͕ĞŵĂŝůƚŽĐůŝĞŶƚƌĞďŽƚŚ;͘ϭͿ   Ϯ͘ϬϬ     Ϯ͘ϬϬ      z   Ψϰϴϱ͘ϬϬͬŚƌ   ΨϵϳϬ͘ϬϬ

ϬϴͬϭϯͬϮϬϭϴ D͘:ŽŶĂƚŚĂŶ,ĂǇĞƐ        DĞĞƚŝŶŐ          ŽŶĨǁŝƚŚĐůŝĞŶƚĂŶĚ<ǇƵĚŽǁŶƚŽǁŶƚŽǁŽƌŬŽŶϳĚĂǇƉĂĐŬĂŐĞ                                ϭ͘ϯϬ           ϭ͘ϯϬ      z   Ψϰϴϱ͘ϬϬͬŚƌ   ΨϲϯϬ͘ϱϬ
ϬϴͬϭϯͬϮϬϭϴ D͘:ŽŶĂƚŚĂŶ,ĂǇĞƐ        ZĞǀŝĞǁ           ZĞǀŝĞǁĂŶĚƌĞǀŝƐĞ^ƚĂƚĞŵĞŶƚŽĨDĂũŽƌ/ƐƐƵĞƐ͕ĞŵĂŝůƚŽĐůŝĞŶƚǁŝƚŚĐŽŵŵĞŶƚƐ                Ϭ͘ϴϬ           Ϭ͘ϴϬ      z   Ψϰϴϱ͘ϬϬͬŚƌ   Ψϯϴϴ͘ϬϬ
ϬϴͬϭϯͬϮϬϭϴ ZŽƐĂƌŝŽƵďŝĂ             ƌĂĨƚ            ŵĂŝůĞĚĐŽŵƉůŝĂŶĐĞĚŽĐƵŵĞŶƚƐ͖ĞĐƌĞĞďƚŽƌΖƐŽŵƉůŝĂŶĐĞĂŶĚƌĞůĂƚĞĚĚŽĐƵŵĞŶƚƐƚŽĐůŝĞŶƚ Ϭ͘ϮϬ           Ϭ͘ϮϬ      z   Ψϭϯϱ͘ϬϬͬŚƌ   ΨϮϳ͘ϬϬ
                                                      ĨŽƌƌĞǀŝĞǁĂŶĚƐŝŐŶĂƚƵƌĞŽĨĐŽǀĞƌƐŚĞĞƚ͘
ϬϴͬϭϯͬϮϬϭϴ ZŽƐĂƌŝŽƵďŝĂ             ƌĂĨƚ            ZĞǀŝĞǁĞĚĂŶĚĚƌĂĨƚĞĚĐŽŵƉůŝĂŶĐĞĚŽĐƵŵĞŶƚƐ͖ĞĐƌĞĞďƚŽƌΖƐŽŵƉůŝĂŶĐĞĂŶĚƌĞůĂƚĞĚ       ϯ͘ϵϬ            ϯ͘ϵϬ      z   Ψϭϯϱ͘ϬϬͬŚƌ   ΨϱϮϲ͘ϱϬ
                                                      ĚŽĐƵŵĞŶƚƐ͘
                                                                                                                                                                                                    Doc 79 Filed 02/04/19 Entered 02/04/19 11:18:21




ϬϴͬϭϯͬϮϬϭϴ ZŽƐĂƌŝŽƵďŝĂ             ƌĂĨƚ            ZĞǀŝĞǁĞĚĂŶĚĚƌĂĨƚĞĚϳĂǇ^ƵƉƉůĞŵĞŶƚĂůŽŵƉůŝĂŶĐĞEŽ͘Ϯ͖ŐĂƚŚĞƌĞĚZWYΖƐ͕ďĂŶŬĂĐĐŽƵŶƚƐ͘ Ϭ͘ϴϬ            Ϭ͘ϴϬ      z   Ψϭϯϱ͘ϬϬͬŚƌ   ΨϭϬϴ͘ϬϬ

ϬϴͬϭϯͬϮϬϭϴ ZŽƐĂƌŝŽƵďŝĂ             ƌĂĨƚ            ƌĂĨƚĞĚϳĂǇ^ƵƉƉůĞŵĞŶƚĂůŽŵƉůŝĂŶĐĞEŽ͘ϭ͘ZĞĚĂĐƚĞĚƚĂǆƌĞƚƵƌŶƐ͘                             Ϭ͘ϱϬ     Ϭ͘ϱϬ      z   Ψϭϯϱ͘ϬϬͬŚƌ   Ψϲϳ͘ϱϬ
ϬϴͬϭϰͬϮϬϭϴ ZŽƐĂƌŝŽƵďŝĂ             ƌĂĨƚ            ZĞǀŝĞǁĞĚĂŶĚĚƌĂĨƚĞĚƐŝǆZĞĂůWƌŽƉĞƌƚǇYƵĞƐƚŝŽŶŶĂŝƌĞƐ͘                                         ϰ͘ϴϬ     ϰ͘ϴϬ      z   Ψϭϯϱ͘ϬϬͬŚƌ   Ψϲϰϴ͘ϬϬ
                                                                                                                                                                                                                            Desc
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                                         3522)2)6(59,&(2)'2&80(17
,DPRYHUWKHDJHRIDQGQRWDSDUW\WRWKLVEDQNUXSWF\FDVHRUDGYHUVDU\SURFHHGLQJ0\EXVLQHVVDGGUHVVLV 
&HQWXU\3DUN(DVW6XLWH/RV $QJHOHV&$

$WUXHDQGFRUUHFWFRS\RI WKHIRUHJRLQJGRFXPHQW HQWLWOHG 127,&(2)027,21$1'027,21)25
25'(5$332,17,1*$&+$37(575867((25,17+($/7(51$7,9(&219(57,1*
7+(&$6(72$&$6(81'(5&+$37(52)7+(%$1.5837&<&2'(0(025$1'802)
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 72%(6(59('%<7+(&28579,$127,&(2)(/(&7521,&),/,1*1() 3XUVXDQWWRFRQWUROOLQJ*HQHUDO
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 6(59('%<81,7('67$7(60$,/
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RUDGYHUVDU\SURFHHGLQJE\SODFLQJDWUXHDQGFRUUHFWFRS\WKHUHRILQDVHDOHGHQYHORSHLQWKH8QLWHG6WDWHVPDLOILUVW
FODVVSRVWDJHSUHSDLGDQG DGGUHVVHGDVIROORZV/LVWLQJWKHMXGJHKHUHFRQVWLWXWHVDGHFODUDWLRQWKDWPDLOLQJWRWKHMXGJH
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 6(59('%<3(5621$/'(/,9(5<29(51,*+70$,/)$&6,0,/(75$160,66,2125(0$,/ VWDWH PHWKRG
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SHUVRQVDQGRUHQWLWLHVE\SHUVRQDOGHOLYHU\RYHUQLJKWPDLOVHUYLFHRUIRUWKRVHZKRFRQVHQWHGLQZULWLQJWRVXFKVHUYLFH
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+RQ9LQFHQW=XU]ROR8QLWHG6WDWHV%DQNUXSWF\&RXUW
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,GHFODUHXQGHUSHQDOW\RISHUMXU\XQGHUWKHODZVRIWKH8QLWHG6WDWHVWKDWWKHIRUHJRLQJLVWUXHDQGFRUUHFW

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  Date                            Printed Name                                                   Signature




            7KLVIRUPLVPDQGDWRU\,WKDVEHHQDSSURYHGIRUXVHE\WKH8QLWHG6WDWHV%DQNUXSWF\&RXUWIRUWKH&HQWUDO'LVWULFWRI&DOLIRUQLD


June 2012                                                                                           )3522)6(59,&(
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&RQWLQXHG9LD(&)

2IILFHRIWKH8QLWHG6WDWHV7UXVWHH .HOO\/0RUULVRQYLD(&)#8QLWHG6WDWHV7UXVWHH/$
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#QRWLFHVQH[WFKDSWHUENFRPURNVDQD#UKPILUPFRPURVDULR#UKPILUPFRPMDQLWD#UKPILUPFRPVXVLH
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#UKPILUPFRPPD

&RXQVHOWR6HFXUHG&UHGLWRU+\XQGDL6WHHO&RPSDQ\ 9LD(&) WR 'DUUHQ/3DWULFN# GSDWULFN#RPPFRP

&RXQVHOWR'HXWVFK%DQNet al: 9LD(&)WR7KHURQ6&RYH\#WFRYH\#UDVIODZFRP &$(&)#WEODZFRP

$OO(&)1RWLFH3DUWLHV

     x   7KHURQ6&RYH\ WFRYH\#UDVIODZFRP&$(&)#WEODZFRP
     x   +DO'*ROGIODP KJROGIODP#IUDQG]HOFRPEZLOVRQ#IUDQG]HOFRP
     x   0-RQDWKDQ+D\HV MKD\HV#UKPILUPFRP
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     x   'DYLG:0HDGRZV GDYLG#GDYLGZPHDGRZVODZFRP
     x   .DWULQD00LOOHU NPLOOHU#SVNILUPFRP
     x   .HOO\/0RUULVRQ NHOO\OPRUULVRQ#XVGRMJRY
     x   'DQLHO(3DUN GSDUN#SDUNV\OYDODZFRP
     x   'DUUHQ/3DWULFN GSDWULFN#RPPFRP
     x   6WHYHQ*3RODUG VSRODUG#FKODZFRPFERUUD\R#FKODZFRP
     x   9DOHULH6PLWK FODLPV#UHFRYHU\FRUSFRP
     x   8QLWHG6WDWHV7UXVWHH/$ XVWSUHJLRQODHFI#XVGRMJRY
     x   8QLWHG6WDWHV7UXVWHH/$ XVWSUHJLRQODHFI#XVGRMJRY


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June 2012                                                                                           )3522)6(59,&(
Label Matrix for Case   2:18-bk-19004-VZ
                 local noticing            Doc  79 BANKFiled
                                           DEUTSCHE           02/04/19
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                                                                  TRUST COMPANY AS TRUS 02/04/19   11:18:21
                                                                                             DLI Assets Bravo, LLCDesc
0973-2                                     Main   Document           Page    29
                                           Robertson, Anschutz & Schneid, P.L.   of  31      c/o Katrina M. Miller (Lim Participant)
Case 2:18-bk-19004-VZ                      6409 Congress Avenue Suite 100                     110 N. Washington Street
Central District of California             Boca Raton, FL 33487-2853                          Suite 500
Los Angeles                                                                                   Rockville, MD 20850-2230
Mon Feb 4 08:49:51 PST 2019
M & A Equities, LLC                        Packo Investments, Inc.                            Los Angeles Division
c/o David W. Meadows                       Packo Investments, Inc. et al.                     255 East Temple Street,
1801 Century Park East,                    c/o David W. Meadows, Esq.                         Los Angeles, CA 90012-3332
Ste 1235                                   1801 Century Park East
Los Angeles, CA 90067-2314                 Ste 1235
                                           Los Angeles, CA 90067-2314
Allen Park                                 Allen Park -Packo                                  Amex
c/o Packo Investments, Inc.                440 S. Vermont Ave., #301                          Correspondence/Bankruptcy
440 S. Vermont Avenue, Suite 301           Los Angeles, CA 90020-1988                         Po Box 981540
Los Angeles, CA 90020-1988                                                                    El Paso, TX 79998-1540


BAE Family Trust Dated August 6, 2015      Bae Family                                         Bank of Hope
Young U. Bae, c/o Packo Investments, Inc   440 S. Vermont Ave., #301                          c/o Frandzel Robins Bloom & Csato, L.C.
440 S. Vermont Avenue, Suite 301           Los Angeles, CA 90020-1988                         Attn: Hal D. Goldflam
Los Angeles, CA 90020-1988                                                                    1000 Wilshire Boulevard, 19th Floor
                                                                                              Los Angeles, CA 90017-2427

Bejac                                      CP Construction                                    California Dept of Tax and Fee Admi
569 S. Van Buren Street                    105 N. Loma Place                                  Special Ops, MIC 55
Placentia, CA 92870-6613                   Upland, CA 91786-5620                              PO Box 942879
                                                                                              Sacramento, CA 94279-0005


Cemex Construction Materials               (p)OFFICE OF FINANCE CITY OF LOS ANGELES           Coleman & Horowitt, LLP
1430 Santa Clara Street                    200 N SPRING ST RM 101 CITY HALL                   1880 Century Park East, Suite 404
Santa Paula, CA 93060                      LOS ANGELES CA 90012-3224                          Los Angeles, CA 90067-1604



County of San Bernardino                   Creditors Adjustment                               DEUTSCHE BANK NATIONAL TRUST COMPANY AS TRUS
268 W Hospitality Ln 1st Fl                14226 Ventura Blvd.                                Ocwen Loan Servicing, LLC
San Bernardino CA 92415-0900               Sherman Oaks, CA 91423-2777                        Attn: Bankruptcy Department PO Box 24605
                                                                                              West Palm Beach, FL 33416-4605


DLI Assets Bravo, LLC                      Eisner Jaffe                                       First Premier Bank
c/o Katrina M. Miller                      9601 Wilshire Blvd., 7th FL                        Attn: Bankruptcy
110 North Washington Street, #500          Beverly Hills, CA 90210-5213                       Po Box 5524
Rockville, MD 20850-2230                                                                      Sioux Falls, SD 57117-5524


First Saving Bank / Blaze                  Franchise Tax Board                                Genesis Bankcard Services
Attn: Bankruptcy                           Attn: Bankruptcy Unit                              Po Box 4477
Po Box 5096                                P.O. Box 2952                                      Beaverton, OR 97076-4401
Sioux Falls, SD 57117-5096                 Sacramento, CA 95812-2952


Hose-Man                                   Hyundai Steel Company                              Internal Revenue Service
5397 North Irwindale Ave                   c/o Darren Patrick                                 P.O. Box 7346
Irwindale, CA 91706-2025                   OMelveny & Myers LLP                               Philadelphia, PA 19101-7346
                                           400 South Hope Street, 18th Floor
                                           Los Angeles, CA 90071-2830
Jinah Oh        Case 2:18-bk-19004-VZ          Doc  79 Chong
                                               Kap Chan    Filed 02/04/19 Entered 02/04/19   11:18:21
                                                                                       Kap Chan Chong       Desc
21856 S. Vermont Ave., #6                      Main   Document           Page
                                               3580 Wilshire Blvd., Suite 900 30 of 31 c/o Christine Chong, Esq.
Torrance, CA 90502-2112                        Los Angeles, CA 90010-2523                Law Offices of Christine Chong
                                                                                         3580 Wilshire Blvd., Suite 900
                                                                                         Los Angeles, CA 90010-2523

LOS ANGELES COUNTY TREASURER & TAX COLLECTOR   Los Angeles County Tax Collector          M&A   Equities, LLC
PO BOX 54110                                   PO Box 54110                              c/o   Packo Investments, Inc.
LOS ANGELES, CA 90054-0110                     Los Angeles, CA 90054-0110                440   S. Vermont Avenue, #301
                                                                                         Los   Angeles, CA 90020-1988


Mohamad Sanfaz                                 Mohamed                                   Municipal Services Bureau
c/o Packo Investments, Inc.                    440 S. Vermont Ave., #301                 8325 Tuscany Way, Bldg 4
440 S. Vermont Avenue, Suite 301               Los Angeles, CA 90020-1988                Austin, TX 78754-4734
Los Angeles, CA 90020-1988


Ocwen Loan Servicing                           Packo Investments                         Par Funding
1661 Worthington Road Ste, 100                 440 S. Vermont Ave., #301                 Complete Business Solution Group
West Palm Beach, FL 33409-6493                 Packo In, CA 90020-1988                   141 N. 2nd Street
                                                                                         Philadelphia, PA 19106-2009


Quantum3 Group LLC as agent for                Quarter Spot Inc./DLI Assets Bravo        San Bernadino County Treasurer Tax
GPCC I LLC                                     110 N. Washington St., Ste. 500           268 W. Hospitality Lane, 1st FL
PO Box 788                                     Rockville, MD 20850-2230                  San Bernardino, CA 92415-0900
Kirkland, WA 98083-0788


Sequoia Financial Svcs                         Small Business Administration             Southern Counties Oil Co., a Calif. L.P.
Attn: Bankruptcy                               200 West Santa Ana Blvd., Ste 180         1800 West Katella Ave., Suite 400
28632 Roadside Dr , Ste 110                    Santa Ana, CA 92701-4134                  P.O. Box 4159
Agoura Hills, CA 91301-6074                                                              Orange, CA 92863-4159


Synchrony Bank/Amazon                          Toni Ko                                   United States Trustee (LA)
Attn: Bankruptcy Dept                          1100 S. Hope Street                       915 Wilshire Blvd, Suite 1850
Po Box 965060                                  Los Angeles, CA 90015-2181                Los Angeles, CA 90017-3560
Orlando, FL 32896-5060


Wells Fargo Bank N.A., d/b/a Wells Fargo Aut   Wells Fargo Dealer Services               Zamucen & Curren, LLP
PO Box 19657                                   Attn: Bankruptcy                          17898 Skypark Circle, Sutie C
Irvine, CA 92623-9657                          Po Box 19657                              Irvine, CA 92614
                                               Irvine, CA 92623-9657


c/o ACI Law Group, PC                          David W. Meadows                          Jong Uk Byun
6 Centerpointe Drive, Ste. 630                 1801 Century Park East                    8201 Santa Fe Ave.
La Palma, CA 90623-2585                        Suite 1235                                Huntington Park, CA 90255-6635
                                               Los Angeles, CA 90067-2314


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17609 Ventura Blvd.
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Encino, CA 91316-5132
                   Case 2:18-bk-19004-VZ              Doc 79 Filed 02/04/19 Entered 02/04/19 11:18:21                           Desc
                                                      Main Document    Page 31 of 31
                    The preferred mailing address (p) above has been substituted for the following entity/entities as so specified
                    by said entity/entities in a Notice of Address filed pursuant to 11 U.S.C. 342(f) and Fed.R.Bank.P. 2002 (g)(4).


City of Los Angeles
Office of Finance
200 North Spring St., RM 101
Los Angeles, CA 90012




                   The following recipients may be/have been bypassed for notice due to an undeliverable (u) or duplicate (d) address.


(u)Courtesy NEF                                       (u)Hyundai Steel Company                             (u)Bok Sook Byun




(u)Soo Yeong Kim                                      (u)Yeon Shim Song                                    (u)Kirk Garabedian




End of Label Matrix
Mailable recipients     57
Bypassed recipients      6
Total                   63
